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AO 91 (Rev. 08/09) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                   for the
                                                      SouthernDistrict
                                                   __________ Districtof
                                                                       of__________
                                                                          Ohio

                  United States of America                            )
                             v.                                       )
                                                                      )       Case No.0-
                       Juan Cespedes
                                                                      )
                                                                      )
                                                                      )
                           Defendant(s)


                                                        CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                      July 16, 2020                in the county of               Hamilton         in the
     Southern          District of               Ohio             , the defendant(s) violated:

            Code Section                                                        Offense Description
18 U.S.C. § 1962(d)                               Conspiracy to Participate, Directly or Indirectly, in the Conduct of an
                                                  Enterprise’s Affairs through a Pattern of Racketeering Activity




         This criminal complaint is based on these facts:
                   See Affidavit




         ✔ Continued on the attached sheet.
         u



                                                                                                 Complainant’s signature

                                                                                       Blane J. Wetzel, Special Agent, FBI
                                                                                                  Printed name and title

Sworn to before me and signed in my presence. via Facetime Video.


Date:         Jul 17, 2020
                                                                                                    Judge’s signature

City and state:                           Cincinnati, Ohio                     Hon. Stephanie K. Bowman, U.S. Magistrate Judge
                                                                                                  Printed name and title
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                    In Ohio, we have had meaningful dialogue with our fellow utilities
                    and with legislators on solutions that can help ensure Ohio's future
                    energy security. Our top priority is the preservation of our two
                    nuclear plants in the state and legislation for a zero emission
                    nuclear program is expected to be introduced soon. The ZEN
                    program is intended to give state lawmakers greater control and
                    flexibility to preserve valuable nuclear generation. We believe this

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   , KDYH XVHGSVHXGRQ\PV IRU DOO SHRSOH DQG HQWLWLHV H[FHSW IRU WKH'HIHQGDQWV DQG WKH HQWLWLHV UHJLVWHUHGE\ WKH
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                legislation would preserve not only zero emission assets but jobs,
                economic growth, fuel diversity, price stability, and reliability and
                grid security for the region.

                We are advocating for Ohio's support for its two nuclear plants,
                even though the likely outcome is that [Company A] won't be the
                long-term owner of these assets. We are optimistic, given these
                discussions we have had so far and we will keep you posted as this
                process unfolds

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          7KH LQYHVWLJDWLRQ FRUURERUDWHV &ODUN¶V VWDWHPHQWV  $OWKRXJK /RQJVWUHWK LV QRW
HPSOR\HG E\ WKH 6WDWH RI 2KLR KH LV +RXVHKROGHU¶V FKLHI SROLWLFDO VWUDWHJLVW  /RQJVWUHWK UXQV
+RXVHKROGHU¶VSROLWLFDOFDPSDLJQDQGWKHLQYHVWLJDWLRQVKRZVWKDWKHDQGKLVVWDIIPDQDJHGWKH
 FDPSDLJQV IRU WKH (QWHUSULVHEDFNHG FDQGLGDWHV DW WLPHV LQWHUQDOO\ UHIHUUHG WR E\ WKH
(QWHUSULVHDV³7HDP+RXVHKROGHU´FDQGLGDWHV +RXVHKROGHUDQG/RQJVWUHWKHYHQVKDUHGRIILFH
VSDFHUHQWHGIURPWKHLU3ROLWLFDO$GYHUWLVLQJ$JHQF\,QDGGLWLRQ/RQJVWUHWKOHGWKHPHVVDJLQJ
HIIRUWVERWKLQWKHFDPSDLJQWRSDVV+%DQGWRGHIHDWWKHUHIHUHQGXPDQGZDVDSRLQWRIFRQWDFW
IRU&RPSDQ\$3KRQHUHFRUGVVKRZWKDW+RXVHKROGHUDQG/RQJVWUHWKKDYHFRPPXQLFDWHGRQD
UHJXODUEDVLVIRU\HDUV
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          /RQJVWUHWKDOVRSOD\VDFULWLFDOUROHZLWKUHVSHFWWRWKH(QWHUSULVH¶VILQDQFHV+HLV
DVLJQDWRU\RQERWKRIWKH*HQHUDWLRQ1RZEDQNDFFRXQWVDQGWKHSHUVRQZKRWUDQVIHUVPRQH\RXW
RIWKHDFFRXQWVWRRWKHUHQWLWLHVWRIXUWKHUWKH(QWHUSULVH/RQJVWUHWKDOVRFRQWUROVHQWLWLHVWKDW
UHFHLYH&RPSDQ\$WKURXJK*HQHUDWLRQ1RZSD\PHQWVWRIXUWKHUWKH(QWHUSULVH$PRQJWKHVH
/RQJVWUHWK RZQV DQG RSHUDWHV -3/  $VVRFLDWHV  7KURXJKRXW WKH UHOHYDQW SHULRG /RQJVWUHWK
WUDQVIHUUHGRYHUPLOOLRQRI&RPSDQ\$¶VEULEHSD\PHQWVGLUHFWO\IURP*HQHUDWLRQ1RZ¶V
SULPDU\ EDQN DFFRXQW WR -3/  $VVRFLDWHV¶ SULPDU\ EDQN DFFRXQW  ,Q DGGLWLRQ /RQJVWUHWK
UHFHLYHGLQGLUHFWO\DQRWKHUPLOOLRQZKLFKZDVWUDQVIHUUHGIURPWKH*HQHUDWLRQ1RZDFFRXQW
WKURXJK DQRWKHU HQWLW\ )URQW &RPSDQ\ GHVFULEHG EHORZ  DQG WKHQ LQWR DFFRXQWV WKDW KH
FRQWUROOHG  /RQJVWUHWK WKHQ XVHG &RPSDQ\ $ SD\PHQWV IXQQHOHG WKURXJK *HQHUDWLRQ 1RZ WR
IXUWKHU+RXVHKROGHU¶VDQG&RPSDQ\$¶VLQWHUHVWVDQGWRSD\SHUVRQDOEHQHILWVWRPHPEHUVDQG
DVVRFLDWHVRIWKH(QWHUSULVH/RQJVWUHWKEHQHILWWHGSHUVRQDOO\WKURXJKWKHFRQVSLUDF\¶VDFWLRQV
UHFHLYLQJRYHUPLOOLRQLQ&RPSDQ\$WR*HQHUDWLRQ1RZPRQH\GXULQJWKHUHOHYDQWSHULRG
LQFOXGLQJDWOHDVWPLOOLRQZKLFKKHWUDQVIHUUHGWRKLVEURNHUDJHDFFRXQWLQ-DQXDU\
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          1HLO&ODUNRZQVDQGRSHUDWHV*UDQW6WUHHW&RQVXOWDQWVDQ2KLREDVHGOREE\LQJ
ILUP WKDW IRFXVHV RQ OHJLVODWLYH UHJXODWRU\ DQG SURFXUHPHQW OREE\LQJ DW WKH 2KLR 6WDWHKRXVH
3ULRUWREHFRPLQJDOREE\LVW&ODUNVHUYHGDVDEXGJHWGLUHFWRUIRUWKH2KLR6HQDWH5HSXEOLFDQ
&DXFXV'XULQJWKHUHOHYDQWSHULRG&ODUNZRUNHGDVDOREE\LVWIRUYDULRXVLQWHUHVWJURXSV
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          $ORQJZLWK/RQJVWUHWK&ODUNLVLQKLVRZQZRUGVRQHRI+RXVHKROGHU¶V³closest
advisors´  $FFRUGLQJ WR &ODUN GXULQJ UHFRUGHG FRQYHUVDWLRQV LQ  &ODUN VHUYHG DV
+RXVHKROGHU¶V³proxy´LQWKH(QWHUSULVH¶VHIIRUWVWRIXUWKHUWKHHQDFWPHQWRI+%DQGHQVXUH+%
ZHQWLQWRHIIHFWLQ2FWREHUE\GHIHDWLQJWKHVXEVHTXHQWEDOORWLQLWLDWLYHFKDOOHQJH&ODUN
DOVR FRPPXQLFDWHG GLUHFWO\ ZLWK +RXVH PHPEHUV WR IXUWKHU WKH (QWHUSULVH  ,Q  &ODUN
GHVFULEHGKLPVHOILQUHFRUGHGFRPPXQLFDWLRQVDV+RXVHKROGHU¶V³hit man´ZKRZLOOGRWKH³dirty
shit´&ODUNVWDWHG³when [Householder’s] busy, I get complete say. When we’re working on
stuff, if he says, ‘I’m busy,’ everyone knows, Neil has the final say, not Jeff. Jeff is his
implementer´  %RUJHV FRQILUPHG &ODUN¶VUROHDQG VLPLODUO\ GHVFULEHG&ODUN DV +RXVHKROGHU¶V
³proxy´UHODWLQJWR&RPSDQ\$¶VPDWWHUVLQDUHFRUGHGFRQYHUVDWLRQZLWK&+6&ODUNEHQHILWWHG
SHUVRQDOO\IURP&RPSDQ\$¶VSD\PHQWVWRWKH(QWHUSULVHUHFHLYLQJDWOHDVWLQ&RPSDQ\
$WR*HQHUDWLRQ1RZPRQH\

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          0DWWKHZ %RUJHV LV D UHJLVWHUHG OREE\LVW IRU &RPSDQ\ $ D VXEVLGLDU\ RI
&RPSDQ\$$VGHVFULEHGEHORZWKHLQYHVWLJDWLRQKDVVKRZQWKDW%RUJHVZDVDNH\PLGGOHPDQ
DQGZDVDWWKHFHQWHURIWKHHIIRUWWRWKZDUWWKHUHIHUHQGXPWRVWRS+%IURPWDNLQJHIIHFWWKURXJK
DEDOORWLQLWLDWLYHGULYH2Q$XJXVWVKRUWO\DIWHUWKH%DOORW&DPSDLJQZDVDQQRXQFHG
%RUJHVLQFRUSRUDWHG&RQVXOWLQJ*URXS7ZRGD\VODWHU%RUJHVRSHQHGDEDQNDFFRXQWIRU
&RQVXOWLQJ*URXSDQGWKDWVDPHGD\*HQHUDWLRQ1RZZLUHGLQWRWKHDFFRXQW2YHUWKH
QH[WIHZPRQWKV*HQHUDWLRQ1RZZLUHGDWRWDORIPLOOLRQLQWRWKHDFFRXQW
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          7KHUHLVSUREDEOHFDXVHWREHOLHYHWKDWDSSUR[LPDWHO\DPRQWKDIWHU*HQHUDWLRQ
1RZEHJDQZLULQJPRQH\LQWR%RUJHV¶&RQVXOWLQJDFFRXQW%RUJHVSDLGWR&+6LQ
H[FKDQJHIRULQVLGHLQIRUPDWLRQDERXWWKH%DOORW&DPSDLJQZKLFK%RUJHVZRXOGXVHWRKHOSGHIHDW
WKH%DOORW&DPSDLJQ%DQNDFFRXQWUHFRUGVVKRZWKDWWKHSDLGWR&+6FDPHIURPWKH
 &RQVXOWLQJ *URXS DFFRXQW ZKLFK ZDV IXQGHG E\ *HQHUDWLRQ 1RZ ZLUHV  %RUJHV DOVR SDLG
DQRWKHU FRFRQVSLUDWRU -XDQ &HVSHGHV  RI *HQHUDWLRQ 1RZ PRQH\ IURP KLV DFFRXQW
:LWKWKHPRQH\ZLUHGIURP*HQHUDWLRQ1RZ%RUJHVDOVRSDLGDSULYDWHLQYHVWLJDWRUGXULQJWKLV
SHULRGZKLFKDVGHVFULEHGEHORZLVFRQVLVWHQWZLWKWKH(QWHUSULVH¶VVWUDWHJ\RILQYHVWLJDWLQJWKH
VLJQDWXUHFROOHFWRUVWKDWZRUNHGIRUWKH%DOORW&DPSDLJQ
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          7ROOUHFRUGVVKRZ%RUJHVKDGFRQWDFWZLWK+RXVHKROGHULQ-DQXDU\DQG$SULO
²NH\WLPHSHULRGVDVGHVFULEHGEHORZLQYROYLQJRIILFLDODFWLRQE\+RXVHKROGHU%RUJHV
EHQHILWWHG GLUHFWO\ IURP WKH  PLOOLRQ IURP *HQHUDWLRQ 1RZ ZLUHV  6SHFLILFDOO\ KH SDLG
KLPVHOIRYHUIURP&RPSDQ\$WR*HQHUDWLRQ1RZSURFHHGV
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FRPPXQLFDWLQJZLWK(QWHUSULVHPHPEHUVDQGDVVRFLDWHVUHJDUGLQJVWUDWHJLFGHFLVLRQV&HVSHGHV
LV D PXOWLFOLHQW OREE\LVW ZKRVH VHUYLFHV ZHUH UHWDLQHG E\ &RPSDQ\ $  +H ZDV FHQWUDO WR
&RPSDQ\$¶VHIIRUWVWRJHWWKHEDLORXWOHJLVODWLRQSDVVHGLQ2KLR$VH[SODLQHGEHORZDFRQWUDFW
EHWZHHQ&RPSDQ\$DQG&HVSHGHV¶VOREE\LQJFRPSDQ\WKH2[OH\*URXSVKRZV&RPSDQ\$
KLUHG&HVSHGHVWRSXUVXHWKHEDLORXWOHJLVODWLRQVWDUWLQJLQWKHVSULQJRI&RQVLVWHQWZLWK
WKLVUHFRUGVVKRZWKDW&HVSHGHVZDVWKH³OHDGFRQVXOWDQW´UHODWLQJWR&RPSDQ\$¶VDWWHPSWV
WR SXUVXH OHJLVODWLRQ WKDW ZRXOG VDYH LWV IDLOLQJ QXFOHDU SRZHU SODQWV  ,Q LQWHUQDO GRFXPHQWV
&HVSHGHVWUDFNHG³+RXVHKROGHUFDPS´FDQGLGDWHVZKRODWHUUHFHLYHG&RPSDQ\$WR*HQHDUWLRQ
1RZPRQH\DQGKHDGYLVHGWKDWLI+RXVHKROGHUEHFRPHV6SHDNHUWKHQXFOHDUHQHUJ\EDLORXW³ZLOO
OLNHO\EHOHGIURPKLV&KDPEHU´
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          +HZDVSDLGE\ERWKUHFHLYLQJDSSUR[LPDWHO\IURPWKH(QWHUSULVHDQG
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(QWHUSULVH PHPEHUV GXULQJ WKH UHOHYDQW SHULRG  $V VHW IRUWK EHORZ &HVSHGHV DQG /RQJVWUHWK
FRPPXQLFDWHGUHJXODUO\WKURXJKWH[WPHVVDJHVGLVFXVVLQJWKHFRRUGLQDWLRQRIPLOOLRQVRIGROODUV
LQ &RPSDQ\ $ SD\PHQWV WR WKH (QWHUSULVH DWWDLQLQJ SXEOLF RIILFLDOV¶ VXSSRUW IRU WKH EDLORXW
VHQGLQJPHGLDDQGPDLOHUVVXSSRUWLQJWKHEDLORXWOHJLVODWLRQDQGKLULQJVLJQDWXUHILUPVWRGHIHDW
WKH EDOORW FDPSDLJQ DPRQJ RWKHU WKLQJV  ,Q RQH WHOOLQJ H[FKDQJH ZKLFK LV VXSSRUWHG E\ WROO
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  7KH  SDLG WR &HVSHGHV ZDV SDVVHG WKURXJK WKH  &RQVXOWLQJ *URXS EDQN DFFRXQW ZKLFK ZDV IXQGHG
H[FOXVLYHO\E\*HQHUDWLRQ1RZ

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UHFRUGVDQGVHDUFKZDUUDQWUHWXUQV&HVSHGHVFRRUGLQDWHGWKHWLPHO\SD\PHQWRIPLOOLRQIURP
&RPSDQ\$WR*HQHUDWLRQ1RZ

             *HQHUDWLRQ 1RZ ,QF UHFHLYHG DSSUR[LPDWHO\  PLOOLRQ IURP &RPSDQ\ $
HQWLWLHVGXULQJWKHUHOHYDQWSHULRG$VVHWIRUWKPRUHIXOO\EHORZ*HQHUDWLRQ1RZUHJLVWHUHGZLWK
WKH,56DVD F  ZKLFKLVDQ,56GHVLJQDWLRQIRUDWD[H[HPSWVRFLDOZHOIDUHRUJDQL]DWLRQ
3XUVXDQW WR IHGHUDO ODZ WKH QDPHV DQG DGGUHVVHV RI FRQWULEXWRUV WR  F  V DUH QRW PDGH
DYDLODEOHIRUSXEOLFLQVSHFWLRQ7KH(QWHUSULVH FRQFHDOHG WKHEULEHU\ VFKHPH E\ IXQQHOLQJWKH
PRQH\WKURXJK*HQHUDWLRQ1RZZKLFKKLGWKHSD\PHQWVDQGWKHVFKHPHIURPSXEOLFVFUXWLQ\
*HQHUDWLRQ1RZ¶VDFFRXQWVKDGDFRPELQHGEDODQFHRIDSSUR[LPDWHO\PLOOLRQDVRI-DQXDU\
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WUDQVIHUVWR&RDOLWLRQLQHDUO\WKH*HQHUDWLRQ1RZDFFRXQWVZHUHUHSOHQLVKHGE\DPLOOLRQ
ZLUHIURP(QHUJ\3DVV7KURXJKLQ0DUFKEULQJLQJWKHFRPELQHGEDODQFHRIWKHDFFRXQWVWR
DSSUR[LPDWHO\PLOOLRQDJDLQPRQH\WKDWLVDGLUHFWEHQHILWWRWKH(QWHUSULVH

    %   5HODWHG(QWLWLHV&RQWUROOHGE\WKH(QWHUSULVH

             7KH (QWHUSULVH XVHG DQG UHOLHG RQ D QXPEHU RI GLIIHUHQW HQWLWLHV WR IXUWKHU WKH
FRQVSLUDF\7KHIROORZLQJHQWLWLHVZHUHFRQWUROOHGE\ZRUNHGGLUHFWO\ZLWKRUIXQQHOHGSD\PHQWV
IRUWKHEHQHILWRIWKH(QWHUSULVH

                 D      -3/  $VVRFLDWHV //& LV FRQWUROOHG E\ /RQJVWUHWK  /RQJVWUHWK LV WKH
VLJQRURQILYHGLIIHUHQWEDQNDFFRXQWVWKDWKDYHUHFHLYHGPRQH\GLUHFWO\IURP*HQHUDWLRQ1RZ
LQFOXGLQJWZR-3/EXVLQHVVDFFRXQWVRQHSHUVRQDODFFRXQWDQGWZRDFFRXQWVQDPHG³&RQVWDQW
&RQWHQW´  %DQN UHFRUGV VKRZ QXPHURXV LQWHUQDO PRQH\ WUDQVIHUV RI *HQHUDWLRQ 1RZ PRQH\
DPRQJ/RQJVWUHWKFRQWUROOHGDFFRXQWV,QWRWDO-3/¶VPDLQEXVLQHVVDFFRXQWUHFHLYHGRYHU
PLOOLRQ LQ &RPSDQ\ $±WR*HQHUDWLRQ1RZ ZLUHV GXULQJ WKH UHOHYDQW SHULRG ZKLFK /RQJVWUHWK
WKHQWUDQVIHUUHGLQWHUQDOO\WRKLVRWKHUDFFRXQWV/RQJVWUHWKDOVRUHFHLYHGLQGLUHFWO\PLOOLRQ
ZKLFK KDG EHHQ IXQQHOHG IURP *HQHUDWLRQ 1RZ WKURXJK DQRWKHU HQWLW\ ³)URQW &RPSDQ\´
GLVFXVVHG EHORZ  DQG LQWR /RQJVWUHWK¶V &RQVWDQW &RQWHQW DFFRXQWV  $QDO\VLV RI WKH DFFRXQWV
VKRZVWKDWWKHPRQH\ZDVXVHGWRSD\EHQHILWVGLUHFWO\WR(QWHUSULVHPHPEHUVDQGWRIXUWKHUWKH
(QWHUSULVH¶VLQWHUHVWVE\SD\LQJFDPSDLJQVWDIIIRUSUHIHUUHG+RXVHKROGHUFDQGLGDWHVDPRQJRWKHU
WKLQJV$IWHUWKHEDOORWLQLWLDWLYHFDPSDLJQIDLOHGDQG+%EHFDPHODZIRUWKHEHQHILWRI&RPSDQ\
$ /RQJVWUHWK FRQVROLGDWHG PRVW RI WKH (QWHUSULVH IXQGLQJ LQWR-3/FRQWUROOHGDFFRXQWV$V RI
-DQXDU\WKDWWRWDOEDODQFHVZLWKLQ-3/FRQWUROOHGDFFRXQWVH[FHHGHGPLOOLRQ7KLV
PRQH\LVDGLUHFWEHQHILWWRWKH(QWHUSULVH

               E      ³3$&´ LV D IHGHUDO 3$& WKURXJK ZKLFK *HQHUDWLRQ 1RZ IXQQHOHG
&RPSDQ\$SD\PHQWVLQIXUWKHUDQFHRIWKHFRQVSLUDF\7KH(QWHUSULVHSULPDULO\XVHGWKH3$&
GXULQJWKH0D\SULPDU\DVDZD\WRFRQFHDOWKHVRXUFHRIPHGLDEX\VIRU7HDP+RXVHKROGHU
FDQGLGDWHV7KHDWWRUQH\ZKRLVOLVWHGDVWKHWUHDVXUHUIRU*HQHUDWLRQ1RZDQGZKRLVDVLJQRURQ
WKH*HQHUDWLRQ1RZDFFRXQWVDORQJZLWK/RQJVUHWKLVWKHWUHDVXUHUDQGDVLJQRURIWKH3$&

               F      $OWKRXJK/RQJVWUHWKZDVQRWDVLJQRURQWKH3$&EDQNDFFRXQWGRFXPHQWV
REWDLQHGYLDDVHDUFKZDUUDQWFRQILUP/RQJVWUHWK¶VFRQWURORYHUWKH3$&)RUH[DPSOHD:RUG
GRFXPHQWWLWOHG³&OLHQW,QIRUPDWLRQ5HTXHVW)RUP´ODVWPRGLILHGE\/RQJVWUHWKLQ2FWREHU

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OLVWHG/RQJVWUHWKDVWKH³([HFXWLYH'LUHFWRURU3UHVLGHQW´RIWKH3$&,QDGGLWLRQ/RQJVWUHWK¶V
UHVXPH FUHDWHG E\ /RQJVWUHWK LQ 1RYHPEHU  VWDWHV WKDW /RQJVWUHWK RYHUVHHV SROLWLFDO
DFWLYLWLHVIRUWKH3$&&RQWULEXWLRQIRUPVIRUWKH3$&OLVW/RQJVWUHWKDVWKH³&RQWDFW´DQGLQFOXGH
/RQJVWUHWK¶V HPDLO DQG SKRQH QXPEHU  7ROO UHFRUGV FRUURERUDWH /RQJVWUHWK¶V UROH VKRZLQJ
IUHTXHQWFRQWDFWZLWKWKHDWWRUQH\ZKHQ*HQHUDWLRQ1RZQHHGHGWRPRYHPRQH\WRDQGIURP3$&

                G     ,Q HDUO\  WKH 3$& EDQN DFFRXQW ZDV IXQGHG DOPRVW HQWLUHO\ E\ D
 ZLUH DQG D  ZLUH IURP *HQHUDWLRQ 1RZ RQ $SULO  DQG $SULO  
UHVSHFWLYHO\%\$SULOQHDUO\DOORIWKHPLOOLRQGROODUVZDVSDLGWRWZRPHGLDVHUYLFHV
ILUPVZKLFKVSHQWWKHPRQH\RQPHGLDEX\VDQGRWKHUHIIRUWVWREHQHILW+RXVHKROGHUFDQGLGDWHV
LQFOXGLQJ+RXVHKROGHUKLPVHOILQDGYDQFHRIWKH0D\2KLRSULPDU\HOHFWLRQ

               H      7KHDFFRXQWZDVXQXVHGXQWLO*HQHUDWLRQ1RZZLUHGDQDGGLWLRQDO
WRWKHDFFRXQWLQ6HSWHPEHULQDGYDQFHRIWKHIDOOHOHFWLRQ&ORVHWRRIWKDW
ZLUHZDVSDLGWRDSROLWLFDOVWUDWHJ\JURXSZLWKLQZHHNVRIWKHZLUH$VLGHIURPSD\PHQWVWRWKH
DWWRUQH\¶VODZILUPWKHEDODQFHUHPDLQHGLQWKHDFFRXQW

                I    7KH DFFRXQW UHPDLQHG ODUJHO\ LQDFWLYH IURP 2FWREHU  XQWLO -DQXDU\
)HEUXDU\  ZKHQ WKH (QWHUSULVH ZLUHG  RI PRQH\ IURP &RPSDQ\ $ WR WKH
³&RDOLWLRQ´ GHVFULEHGEHORZ ZKLFKSDVVHGWKURXJKWR3$&URXJKO\WKHVDPHDPRXQWRIPRQH\
RYHUWKHQH[WWZRPRQWKV([SHQGLWXUHVIURPWKH3$&LQ)(&ILOLQJVDORQJZLWKPHGLDSXUFKDVHG
E\3$&VKRZWKDWWKH(QWHUSULVHXVHGWKH&RPSDQ\$PRQH\IXQQHOHGWRWKH3$&WREHQHILW
7HDP+RXVHKROGHUFDQGLGDWHVIRUWKHSULPDU\HOHFWLRQ

                J      ³&RDOLWLRQ´LVDQRWKHU F  QRQSURILWHQWLW\IRUZKLFKWKHDWWRUQH\
ZKRLVWUHDVXUHUDQGVLJQRUIRUWKH3$&LVWKHVLJQRURQWKH&RDOLWLRQ¶VEDQNDFFRXQW7KHDWWRUQH\
LQFRUSRUDWHGWKH&RDOLWLRQLQ'HODZDUHRQHGD\DIWHUKHLQFRUSRUDWHG3$&/RQJVWUHWK¶VUHVXPH
VWDWHVWKDWKHRYHUVHHVSROLWLFDODFWLYLWLHVIRUWKH&RDOLWLRQ6HDUFKZDUUDQWUHWXUQVLQGLFDWHWKDW
/RQJVWUHWKSRVVHVVHGDFRS\RIWKH:WD[SD\HULGHQWLILFDWLRQIRUPIRUWKH&RDOLWLRQ+HDOVR
VDYHG:RUGGRFXPHQWVFKDUDFWHUL]HGDV³VFULSWV´WRXVHZKHQVROLFLWLQJPRQH\IURPGRQRUVWRWKH
&RDOLWLRQ

                K    )RU FDOHQGDU \HDUV  WKURXJK  WKH &RDOLWLRQ ZDV IXQGHG DOPRVW
H[FOXVLYHO\WKURXJK$ IURP&RPSDQ\$% IURP³(QHUJ\3DVV7KURXJK´ D
&RPSDQ\$SDVVWKURXJKDVVHWIRUWKEHORZ DQG& IURPDQLQWHUHVWJURXSWKDWZDV
IXQGHG H[FOXVLYHO\ E\  PLOOLRQ IURP DQRWKHU HQHUJ\ FRPSDQ\ WKDW VXSSRUWHG +%  DQG
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                L      7KH&RDOLWLRQDFFRXQWZDVODUJHO\XQXVHGIURP$XJXVWXQWLO-DQXDU\
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&RPSDQ\ $WR*HQHUDWLRQ1RZ PRQH\ WR 3$& ZKLFK WKH (QWHUSULVH WKHQ XVHG WR VXSSRUW
+RXVHKROGHUEDFNHGFDQGLGDWHVLQWKHSULPDU\HOHFWLRQ7KHEHQHILWRISDVVLQJWKHPRQH\
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PLOOLRQLQ)(&ILOLQJVQRW*HQHUDWLRQ1RZ7KH(QWHUSULVHVRXJKWWRFRQFHDO*HQHUDWLRQ1RZDV
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1RZ KDG JHQHUDWHG QHJDWLYH PHGLD SXEOLFLW\ LQ  DQG FDQGLGDWHV H[SUHVVHG FRQFHUQ WR
+RXVHKROGHUDERXWWKHLUDVVRFLDWLRQZLWKLW
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                M      7KXV WKLV DFFRXQW LV D PHFKDQLVP IRU *HQHUDWLRQ 1RZ WR VSHQG VHFUHW
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                N      ³'DUN0RQH\*URXS´LVDQHQWLW\XVHGE\WKH(QWHUSULVHWRFRQFHDOWKH
VRXUFHRIPHGLDEX\VGXULQJWKHJHQHUDOHOHFWLRQVLPLODUWRWKHZD\WKH(QWHUSULVHXVHG3$&
IRUWKHSULPDULHVLQDQG$Q2KLROREE\LVWLQFRUSRUDWHG'DUN0RQH\*URXSLQ2KLR
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                O      7KH PDMRULW\ RI DFWLYLW\ LQ WKH DFFRXQW RFFXUUHG URXJKO\ D PRQWK ODWHU
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DFFRXQWDQGRWKHUFRUSRUDWHLQWHUHVWVZLUHGLQWRWKHDFFRXQWWRWDOLQJ)URP
2FWREHUWR1RYHPEHU0HGLD3ODFHPHQW&RPSDQ\WKHQVSHQWRQPHGLD
EX\VIRUDGVSDLGIRUE\'DUN0RQH\*URXSWKDWJHQHUDOO\WDUJHWHGULYDOVRIFDQGLGDWHVDOLJQHG
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                P      ³)URQW&RPSDQ\´LVDSDVVWKURXJKHQWLW\XVHGE\WKH(QWHUSULVHWRIXQG
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RUJDQL]HGLQ2KLRRQ-XO\MXVWGD\VDIWHUWKH%DOORW&DPSDLJQWRRYHUWXUQ+%EHJDQ
³$VVRFLDWH´DQG³$VVRFLDWH´RI/RQJVWUHWKDQG+RXVHKROGHUDUHVLJQHUVRQLWVEDQNDFFRXQW
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                Q      )URP $XJXVW   WKURXJK 2FWREHU  &RPSDQ\ $FRQWUROOHG
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SD\PHQWVWR)URQW&RPSDQ\WKHYDVWPDMRULW\RIZKLFKZDVXVHGWRSD\VLJQDWXUHFROOHFWLRQILUPV
WR ILJKW DJDLQVW WKH %DOORW &DPSDLJQ DQG WR SD\ IRU PHGLD RSSRVLQJ WKH %DOORW &DPSDLJQ
*HQHUDWLRQ1RZZDVWKHVROHVRXUFHRIPRQH\GHSRVLWHGLQWRWKH)URQW&RPSDQ\DFFRXQW%\
1RYHPEHUOHVVWKDQUHPDLQHGLQWKH)URQW&RPSDQ\DFFRXQW
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KROGLQJ FRPSDQ\ IRU LWV VXEVLGLDULHV  $V D KROGLQJ FRPSDQ\ &RPSDQ\ $ &RUS GLUHFWV DQG
FRQWUROVWKHYDULRXVVXEVLGLDU\HQWLWLHVZLWKLQ&RPSDQ\$&RUS3HU8QLWHG6WDWHV6HFXULWLHVDQG
([FKDQJH &RPPLVVLRQ GRFXPHQWV &RPSDQ\ $ 6HUYLFH &R LV D SULQFLSOH VXEVLGLDU\ DQG

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&RPSDQ\ $ LV D ZKROO\RZQHG VXEVLGLDU\ RI &RPSDQ\ $ &RUS  &RPSDQ\ $ &RUS DQG LWV
VXEVLGLDULHVDUHLQYROYHGLQWKHJHQHUDWLRQWUDQVPLVVLRQDQGGLVWULEXWLRQRIHOHFWULFLW\
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          &RPSDQ\ $ 6HUYLFH &R ³SURYLGHV OHJDO ILQDQFLDO DQG RWKHU FRUSRUDWH VXSSRUW
VHUYLFHV DW FRVW LQ DFFRUGDQFH ZLWK LWV FRVW DOORFDWLRQ PDQXDO WR DIILOLDWHG >&RPSDQ\ $@
FRPSDQLHV´&RPSDQ\$6HUYLFH&RLVXQGHUWKHPDQDJHPHQWRI&RPSDQ\$&RUS¶VOHDGHUVKLS
WHDP7KH6HUYLFH&RGRHVQRWKDYHLWVRZQ&(2RUERDUGRIGLUHFWRUV$PRQJWKHVKDUHGVHUYLFHV
&RPSDQ\$6HUYLFH&RSURYLGHVWR&RPSDQ\$¶VDIILOLDWHGFRPSDQLHVLQFOXGLQJ&RPSDQ\$
DUH ³H[WHUQDO DIIDLUV´ LQFOXGLQJ ³FRUSRUDWH FRQWULEXWLRQV´ ³)HGHUDO6WDWH/RFDO 5HJXODWRU\
$IIDLUV´DQG³DGYRFDF\DWWKH)HGHUDO6WDWHDQG/RFDOOHYHOV´$FFRUGLQJWR&RPSDQ\$¶V6(&
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WR WKHVH HQWLWLHV IURP -DQXDU\   WR 'HFHPEHU    3XUVXDQW WR &RPSDQ\ $¶V
JRYHUQPHQWDO DIIDLUV FRQWUDFW ZLWK &HVSHGHV UHODWLQJ WR LWV HIIRUWV WR SDVV OHJLVODWLRQ WR VDYH
&RPSDQ\$¶VIDLOLQJQXFOHDUSRZHUSODQWVH[SODLQHGLQGHWDLOEHORZ&RPSDQ\$6HUYLFH&R
DFWHGDV³the authorized agent of [Company A-1] for purposes of executing and administering this
Agreement and is acting in each such case solely in its capacity as authorized agent´$VVHWIRUWK
EHORZ&RPSDQ\$6HUYLFH&RZDVWKH&RPSDQ\$DIILOLDWHGHQWLW\WKDWZLUHGWKHEXONRIWKH
PLOOLRQVRIGROODUVWR*HQHUDWLRQ1RZIRUWKHEHQHILWRI&RPSDQ\$
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          &RPSDQ\ $ ³SURYLGHV HQHUJ\UHODWHG SURGXFWV DQG VHUYLFHV WR UHWDLO DQG
ZKROHVDOH FXVWRPHUV´  &RPSDQ\ $ RZQV DQG RSHUDWHV QXFOHDU JHQHUDWLQJ IDFLOLWLHV WKURXJK
DIILOLDWHVRQHRIZKLFKRZQVWZRQXFOHDUSRZHUSODQWVLQ2KLRDQGVHOOVWKHHQWLUHRXWSXWIURP
WKHVHSODQWVWR&RPSDQ\$$QRWKHUDIILOLDWHE\DJUHHPHQWRSHUDWHVWKHQXFOHDUJHQHUDWLRQ
SODQWV'XULQJPRVWRIWKHUHOHYDQWSHULRG&RPSDQ\$&RUSZDVWKHSDUHQWFRPSDQ\IRUHDFK
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&KDSWHUEDQNUXSWF\&RPSDQ\$&RUSDQG&RPSDQ\$6HUYLFH&RGLGQRWVHHNEDQNUXSWF\
SURWHFWLRQ  3XUVXDQW WR WKH EDQNUXSWF\ SODQ &RPSDQ\ $ &RUS SURSRVHG VHSDUDWLQJ IURP
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          5HFRUGV REWDLQHG E\ WKH )%, LQGLFDWH WKDW RQ -XQH   D IHZ PRQWKV DIWHU
ILOLQJ&KDSWHUEDQNUXSWF\&RPSDQ\$HQWHUHGDFRQWUDFWZLWK2[OH\*URXS//&ZKLFK
OLVWHG&HVSHGHVDVWKH³VXSSOLHUFRQWDFW´7KHWHUPRIWKHFRQWUDFWZDVIURP0D\WR
$SULO    8QGHU VFRSH RI VHUYLFHV &HVSHGHV ZDV FRQWUDFWHG WR SHUIRUP ³*RYHUQPHQW
5HODWLRQV´IRU&RPSDQ\$ZKLFKLQFOXGHG³assist[ing] [Company A-1] in attaining necessary
funding through government action to allow for the financial stability/sustainability of its two
nuclear power plants´  ,Q RWKHU ZRUGV &HVSHGHV¶V MRE ZDV WR KHOS &RPSDQ\ $ DWWDLQ

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JRYHUQPHQW IXQGLQJ²i.e., OHJLVODWLYH KHOS²WR VDYH LWV WZRQXFOHDU SRZHU SODQWV IURP FORVXUH
3XUVXDQW WR WKH FRQWUDFW DPRQJ RWKHU WKLQJV &RPSDQ\ $ ZDV DFWLYHO\ VHHNLQJ VSHFLILF
OHJLVODWLYHKHOSWRVDYHWKHWZRQXFOHDUSODQWVLQFOXGLQJ³getting a resolution´SDVVHG³making
our issue a campaign priority for incoming elected officials to achieve a solution in the first quarter
of 2019´DQGUHFHLYLQJ³consistent updates on the pending House Speaker race´DUHIHUHQFHWR
WKH6SHDNHUVKLSUDFHEHWZHHQ+RXVHKROGHUDQG5HSUHVHQWDWLYH
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          7KHVHSULRULWLHVEHFDPHUHDOLW\$VGHVFULEHGEHORZRQ$SULOMXVWWKUHH
PRQWKVDIWHU+RXVHKROGHUEHFDPH6SHDNHUZLWKWKHKHOSRI&RPSDQ\$EULEHSD\PHQWV+%
ZDVLQWURGXFHGE\WZRIUHVKPDQ³7HDP+RXVHKROGHU´UHSUHVHQWDWLYHV+%FUHDWHGDQHZ2KLR
&OHDQ$LUSURJUDPWRVXEVLGL]HSRZHUSODQWVIXHOHGE\QXFOHDUDQGVRODUSRZHUZKLFKKDGWKH
HIIHFWRIVDYLQJ&RPSDQ\$¶VQXFOHDUSODQWVIURPFORVXUHZLWKRYHUELOOLRQLQVXEVLGLHVIRU
QXFOHDUHQHUJ\
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          ³(QHUJ\3DVV7KURXJK´LVDQRQSURILW F  WKDWZDVLQFRUSRUDWHGLQ2KLR
RQ)HEUXDU\²WZRGD\VDIWHU*HQHUDWLRQ1RZZDVLQFRUSRUDWHGLQ'HODZDUH$ZHHN
ODWHU RQ )HEUXDU\&RPSDQ\$ZLUHG  PLOOLRQLQWRWKH(QHUJ\3DVV7KURXJK EDQN
DFFRXQW²WKHILUVWWUDQVDFWLRQLQWKHDFFRXQW7KHDFFRXQWZDVWKXVIXQGHGVROHO\E\WKHLQLWLDO
PLOOLRQ ZLUH IURP &RPSDQ\ $  7KH (QHUJ\ 3DVV7KURXJK DFFRXQW WKHQ PDGH WKH IROORZLQJ
WUDQVDFWLRQV
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    x ZLUHWR*HQHUDWLRQ1RZRQ0DUFK ZHHNVEHIRUH&RPSDQ\$ILOHGIRU
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RQ2FWREHU&RPSDQ\$ZLUHGDQRWKHUPLOOLRQWR(QHUJ\3DVV7KURXJK2Q2FWREHU
WKHGD\WKHEDOORWLQLWLDWLYHIDLOHGDQG+%RIILFLDOO\EHFDPHODZ(QHUJ\3DVV7KURXJK
ZLUHGPLOOLRQWR*HQHUDWLRQ1RZDQGZURWHDFDVKLHU¶VFKHFNWR*HQHUDWLRQ1RZ
2Q0DUFK(QHUJ\3DVV7KURXJKZLUHGDQRWKHUPLOOLRQWR*HQHUDWLRQ1RZ%DVHGRQ
P\WUDLQLQJDQGH[SHULHQFHWKHUHLVSUREDEOHFDXVHWREHOLHYHWKDWWKLVDFFRXQWZDVXVHGDVDSDVV
WKURXJKIURP&RPSDQ\$WRWKH(QWHUSULVH
             
    ,,     (QWHUSULVH&UHDWHVDQG8VHV*HQHUDWLRQ1RZWR5HFHLYH%ULEH3D\PHQWV
         
    $ &UHDWLRQRI*HQHUDWLRQ1RZ
               
          2QRUDERXW)HEUXDU\*HQHUDWLRQ1RZ,QFZDVLQFRUSRUDWHGLQ'HODZDUH
DQGWZREDQNDFFRXQWVZHUHRSHQHGDW)LIWK7KLUG%DQN [DQG[ 6XESRHQDHGEDQN
UHFRUGVVKRZWKDWDQDWWRUQH\DQG-HII/RQJVWUHWKZHUHVLJQDWRULHVRQERWKDFFRXQWV2QRUDERXW

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             /DWHUWKDWGD\&ODUNH[SODLQHGWKDWWKHSDLGRXWRI*HQHUDWLRQ1RZZHQW
WRSD\RIIILIWHHQVLJQDWXUHFROOHFWLRQILUPVQDWLRQZLGHVRWKDWWKH\ZRXOGEHFRQIOLFWHGRXWIURP
ZRUNLQJRQEHKDOIRIWKH%DOORW&DPSDLJQZKLFKEDQNUHFRUGVFRQILUPDVGHVFULEHGEHORZ

            ,Q VXEVHTXHQW UHFRUGHG FDOOV DQG PHHWLQJV &ODUN GLVFXVVHG +RXVHKROGHU¶V
FRQQHFWLRQWR*HQHUDWLRQ1RZ)RUH[DPSOHLQDUHFRUGHGFDOORQ$XJXVW&ODUNVWDWHG
WKDW-HII/RQJVWUHWKZDV+RXVHKROGHU¶V³political guy´ZKR³could influence the Speaker´+H
VLPLODUO\H[SODLQHGODWHULQWKHFDOO/RQJVWUHWKLV+RXVHKROGHU¶V³political guy, he’s the guy that
does,remember that Committee I work for, Generation Now, I’ve been talking about´

            &ODUN DOVR GLVFXVVHG WKH LQGLYLGXDOV PDNLQJ D SD\PHQW WR +RXVHKROGHU LQWR
*HQHUDWLRQ 1RZ  'XULQJ D FDOO RQ $XJXVW   &ODUN GLVFXVVHG WDNLQJ D WULS ZLWK
+RXVHKROGHU RU KLV DGYLVRUV WR IXUWKHU WKH XQUHODWHG OHJLVODWLRQ  'XULQJ WKH FDOO &ODUN VWDWHG
³>Longstreth] and I are the two principal advisors to the Speaker.´  $FFRUGLQJ WR&ODUN ³Jeff
actually runs all the races and selects people, etc´&ODUNDOVRVWDWHGWKDWWKHLQGLYLGXDOV³might
write a check to the (c)(4)´RIWKH6SHDNHUWRWDOLQJ&ODUNVDLGLWZRXOGEHLGHDOLIWKH\
FRXOGKDQGWKHFKHFNWR+RXVHKROGHUSHUVRQDOO\²DV&ODUNH[SODLQHG³it’s his (c)(4)´²WKRXJK
&ODUNH[SODLQHGWKDWW\SLFDOO\WKH F  PRQH\LVZLUHGLQWRWKHDFFRXQW%DQNUHFRUGVFRUURERUDWH
&ODUN¶VDVVHUWLRQWKDWPRQH\LQWR*HQHUDWLRQ1RZLVXVXDOO\ZLUHGLQWRWKHDFFRXQW

             5HFRUGHG VWDWHPHQWV E\ %RUJHV WR &+6  DOVR VKRZ +RXVHKROGHU¶V XVH RI
*HQHUDWLRQ1RZDQGIXUWKHUFRQILUP&ODUN¶VVWDWHPHQWV$VH[SODLQHGIXOO\EHORZLQ$XJXVW
 %RUJHV UHFHLYHG  PLOOLRQ LQ ZLUH WUDQVIHUV IURP *HQHUDWLRQ 1RZ DQG WKHQ XVHG D
SRUWLRQRIWKDWPRQH\WRDWWHPSWWREULEH&+6WRKHOSGHIHDWWKHEDOORWLQLWLDWLYH2Q6HSWHPEHU
GXULQJDUHFRUGHGFRQYHUVDWLRQ%RUJHVGLVFXVVHGWKHGLYLGHEHWZHHQWKHEDOORWLQLWLDWLYH
VXSSRUWHUV WRLQFOXGHWKH&+6 DQGWKHVXSSRUWHUVRI+%DQGVWDWHG³The only people on my
side is this fucking company´ZKLFK%RUJHVFRQILUPHGZDV³>&RPSDQ\$@´%RUJHVGHVFULEHG
WKHUHODWLRQVKLSEHWZHHQ&RPSDQ\$DQG+RXVHKROGHUWR&+6DVIROORZV

                  And, and Larry also, you know, so it’s this unholy alliance between
                  Larry and [Company A] and [Borges’ firm]    [Borges’ firm]
                  doesn’t care about Larry; he’s helping with the issue our single
                  largest client cares a lot about and [] unless you are somehow
                  affiliated directly to [Company A] or work for one of their interests
                  or you just want to suck up to Larry, you’re on your side (as to
                  whether to overturn HB 6)

             %RUJHVDOVRGLVFXVVHG+RXVHKROGHU¶VGLUHFWLQYROYHPHQWLQPDQDJLQJ*HQHUDWLRQ
1RZ  6SHFLILFDOO\ RQ 6HSWHPEHU   KH VWDWHG WKH IROORZLQJ DERXW $VVRFLDWH  ZKR LV
*HQHUDWLRQ1RZ¶VSXEOLFUHODWLRQVVSRNHVSHUVRQ

                  Like [Associate 3] who has to, who has to, answer to the press
                  obviously, he wants to quit so bad ‘cause he’s like “this is my

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                       reputation now” you know . . . but he can’t because the Speaker
                       won’t let him, but he god he hates this shit.

          :KHQ&+6DVNHGZKHWKHU+RXVHKROGHUZDV³putting the squeeze on [Associate
3]´ %RUJHVUHVSRQGHGWKDW³Larry thinks that this stuff is good for us´ :KHQ&+6DVNHG%RUJHV
ZK\+RXVHKROGHUGRHVQRWMXVWUHWLUH%RUJHVUHVSRQGHG³No. That’s just not how he’s wired´
%RUJHV LQGLFDWHG KH ZDV QRW DZDUH RI ZKDW +RXVHKROGHU ZDV PDNLQJ RII WKH UHODWLRQVKLS ZLWK
&RPSDQ\ $ EXW %RUJHV VWDWHG LW ZDV ³insane´ ZKDW ³Jeff and those guys´ DUH PDNLQJ RII WKH
UHODWLRQVKLS
         
          %RUJHV DOVR UHLQIRUFHG &ODUN¶V UROH LQ WKH (QWHUSULVH VSHFLILFDOO\ KLV UROH DV
+RXVHKROGHU¶VSUR[\WR*HQHUDWLRQ1RZ³Neil sits in meetings and he’ll say ‘I’m the proxy for
the Speaker in this meeting . . . so anything you tell me’ and you kind of think it’s typical Neil
bullshit stuff except it is not; he’s really acting as his proxy´  7KLV FRUURERUDWHV &ODUN¶V RZQ
VWDWHPHQWVWKDWKHZDVDFWLQJDV+RXVHKROGHU¶VSUR[\IRUSXUSRVHVRISDVVDJHRI+%DQGWKH
HIIRUWWRGHIHDWWKHEDOORWLQLWLDWLYHWKURXJKWKHXVHRI*HQHUDWLRQ1RZ
         
          +RXVHKROGHU¶V DGPLVVLRQV FRQILUP &ODUN¶V DQG %RUJHV¶ VWDWHPHQWV WKDW
+RXVHKROGHU FRQWUROV *HQHUDWLRQ 1RZ  ,Q D -DQXDU\   UHFRUGHG FDOO ZLWK &ODUN
+RXVHKROGHUGLVFXVVHGILQDQFLDOFRQWULEXWLRQVIURPYDULRXVLQGXVWULHVLQFOXGLQJSD\GD\OHQGHUV
DQGQXUVLQJKRPHVWZRLQGXVWULHVIRUZKLFK&ODUNLVDOREE\LVW'XULQJWKHFDOOWKHIROORZLQJ
FRQYHUVDWLRQRFFXUUHG

                  /+ ³Now switching gears. So we are looking at the payday lenders And we are
                  expecting big things in (c)(4) money from payday lenders....
                  
                  1&Right. Right
                  
                  /+³So far, I think we are what, fifty? I think >VSHDNLQJWRVRPHRQHHOVHLQWKHURRP@
                  
                  1&Are you, you’re checking now with Jeffright?
                  
                  /+Right.
                  
                  1&You should have gotten twenty-five or fifty from [owner of firm], correct"
                  
                  /+Yes.
                  

                  /+>$IWHUFRQILUPLQJZLWKVRPHRQHLQWKHEDFNJURXQG@Twenty five total . . . Twenty-
                  five total is what we’ve got´
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            *HQHUDWLRQ 1RZ¶V EDQN UHFRUGV PDWFK WKH GHVFULSWLRQ RI WKH FKHFNV GLVFXVVHG
GXULQJ                   6XESRHQDHGEDQNUHFRUGVIURP*HQHUDWLRQ1RZ¶VDFFRXQWVKRZLQGHHG
WKDWDWWKHWLPHRIWKHFDOODFKHFNIRUIURPSD\GD\OHQGLQJFRPSDQ\ ZULWWHQRQ2FWREHU
 KDGEHHQGHSRVLWHGLQWRWKH*HQHUDWLRQ1RZDFFRXQW&ODUN¶VUHIHUHQFHWR³>WKHRZQHU
RIWKHILUP@´ZDVDUHIHUHQFHWRSUHVLGHQWRIWKHFRPSDQ\ZKLFKZURWHWKHFKHFN7KH
UHIHUHQFHWR³-HII´GXULQJWKH               LVOLNHO\DUHIHUHQFHWR-HII/RQJVWUHWK'XULQJDQRWKHU
SRUWLRQRIWKHVDPH               +RXVHKROGHUDQG&ODUNGLVFXVVHGDQRWKHULQGXVWU\¶V³ F  ´
+RXVHKROGHUFRQILUPHGWR&ODUNGXULQJWKHFDOOWKDWWKLVHQWLW\JDYHWR³WKH F  ´$JDLQ
*HQHUDWLRQ1RZ¶VEDQNDFFRXQWUHYHDOHGDFKHFN ZULWWHQRQ2FWREHU IURPWKH
HQWLW\WKDWZDVGHSRVLWHGLQWRWKH*HQHUDWLRQ1RZDFFRXQWSULRUWRWKH                   
         
          +RXVHKROGHU¶VFRQQHFWLRQWR*HQHUDWLRQ1RZZDVIXUWKHUFODULILHGGXULQJDFDOORQ
)HEUXDU\EHWZHHQ+RXVHKROGHUDQG&ODUNGXULQJZKLFK+RXVHKROGHUDJDLQLQTXLUHGDERXW
³ F  PRQH\´6SHFLILFDOO\+RXVHKROGHUVWDWHG³I’msitting here with [Associate 2] . . . we’re
talking about (c)(4) money, and we’re trying to figure out where the payday lenders were going to
be at. Can you help me with that?´  $VVRFLDWH  LV WKH )LQDQFH 'LUHFWRU IRU +RXVHKROGHU¶V
FDPSDLJQWH[WFRPPXQLFDWLRQVVKRZWKDWKHVKHVROLFLWHGDQGFROOHFWHGPRQH\IRU*HQHUDWLRQ
1RZDQGKHVKHZDVSDLGRXWRIWKH*HQHUDWLRQ1RZDFFRXQW7KLVFDOOLVFRQVLVWHQWZLWKWKH
-DQXDU\FDOOZLWK&ODUNZKHUH+RXVHKROGHUZDVVHHNLQJ F  PRQH\IURP&ODUN¶V
FOLHQWV
         
          7H[WPHVVDJHFRPPXQLFDWLRQVEHWZHHQ+RXVHKROGHUDQG/RQJVWUHWKDOVRVKRZWKDW
+RXVHKROGHU FRQWUROOHG *HQHUDWLRQ 1RZ  )RU H[DPSOH LQ D -XQH   WH[W PHVVDJH
+RXVHKROGHUDVNHG/RQJVWUHWK³When does the Gen Now TV message change? I think it is burnt
in - well burnt in´/RQJVWUHWKUHVSRQGHG³They are working on a draft now. Polling shows it’s
working´6LPLODUO\RQ-XQH+RXVHKROGHUWH[WHGWR/RQJVWUHWKWKDW³Gen Now has had
issues´H[SODLQLQJWKDW³I’ve had several members - including members of House leadership come
in privately and discuss their concern over next years [sic] House campaigns based on HB 6
messaging, mail, TV and radio´,QDGGLWLRQ+RXVHKROGHUVHQWPHVVDJHVWR/RQJVWUHWKDVNLQJ
DERXW³running positive radio´IRUDPHPEHUH[SODLQLQJ³[g]ot to protect the troops – especially
make sure they believe we are protecting them´7KHVHWH[WPHVVDJHVVKRZWKDW+RXVHKROGHULV
LQYROYHGLQ*HQHUDWLRQ1RZPHGLDEX\VWRIXUWKHU+%7KH\DOVRVKRZWKDWWKHSUHVVXUHWKH
(QWHUSULVHZDVSXWWLQJRQ+RXVHPHPEHUVWKURXJK*HQHUDWLRQ1RZPHGLDHIIRUWVWRIXUWKHU+%
FUHDWHG SROLWLFDO SUREOHPV IRU VRPH +RXVH PHPEHUV DQG WKRVH PHPEHUV ZHQW GLUHFWO\ WR
+RXVHKROGHUWRYRLFHWKHLU³FRQFHUQ´DERXW*HQHUDWLRQ1RZ¶VDFWLYLWLHV
         
          )LQDOO\VHDUFKZDUUDQWUHWXUQVDOVRFRQILUPWKDW+RXVHKROGHULVLQYROYHGGLUHFWO\
LQ*HQHUDWLRQ1RZ)RUH[DPSOHD:RUGGRFXPHQWRULJLQDOO\FUHDWHGE\/RQJVWUHWKRQ)HEUXDU\
DQGWLWOHG³)ULHQGVRI/+0HHWLQJ7HPSODWH´OLVWHGDPHHWLQJDJHQGDIRUWKH)ULHQGVRI
/DUU\+RXVHKROGHUFDPSDLJQDQGRQWKHVDPHSDJHRIWKH:RUGGRFXPHQWDQGGLUHFWO\EHORZD
PHHWLQJ DJHQGD IRU *HQHUDWLRQ 1RZ  $FFRUGLQJ WR WKH WHPSODWH WKH )ULHQGV RI +RXVHKROGHU
FDPSDLJQOLVWHG$VVRFLDWH+RXVHKROGHUDQG6WDIIHUDV³$WWHQGHHV´RID0RQGD\PHHWLQJWKDW
ODVWHGIURP³SP´ KLJKOLJKWVLQRULJLQDO 

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     7KHLQYHVWLJDWLRQLQGLFDWHVWKDW(QWHUSULVHPHPEHUVUHIHUWR+RXVHKROGHULQZULWLQJDV³6/+´

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        7KH (QWHUSULVH¶V VWUDWHJ\ LQFOXGHG UDLVLQJ PRQH\ WKURXJK D ³&´ DQG UHFUXLWLQJ
FDQGLGDWHVZKRLIHOHFWHGZRXOGVXSSRUW+RXVHKROGHUIRU6SHDNHU'RFXPHQWVVXFKDV³*DPH
SODQ´SRVVHVVHGE\/RQJVWUHWKLOOXVWUDWHWKLVSRLQW
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         7KDWWKLVGRFXPHQWZDVFUHDWHGLQ2FWREHUDIHZPRQWKVEHIRUH/RQJVWUHWK
RSHQHGWKH*HQHUDWLRQ1RZDFFRXQWLQ)HEUXDU\VKRZVWKDWWKH(QWHUSULVHIROORZHGWKLV
VWUDWHJ\ DQG LWV OHYHO RI FRPPLWPHQW LQ VR GRLQJ  7KH TXHVWLRQ ³ZKR LV RXU >UHGDFWHG@´ LV D
UHIHUHQFHWRWKHZHDOWK\ILQDQFLDOEDFNHURIWKHWKHQFXUUHQW6SHDNHUDQGWKXVWKH(QWHUSULVHLV
DVNLQJ LQ LWV ³*DPH SODQ ´ GRFXPHQW ³ZKR ZLOO EH RXU ILQDQFLDO EDFNHU"´ /RQJVWUHWK¶V
SURSRVHGRSWLRQ³>UHGDFWHG@"´LVWKH&(2RI&RPSDQ\&ZKLFKLVDFRPSDQ\ZKRVHLQWHUHVWV
DOLJQZLWK&RPSDQ\$
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         7RLPSOHPHQWWKHWZRIROGVWUDWHJ\RIUHFUXLWPHQWDQGIXQGUDLVLQJWKH(QWHUSULVH
QHHGHG WR UHFUXLW D WHDP RI HOHFWDEOH FDQGLGDWHV ZKR ZRXOG VXSSRUW +RXVHKROGHU¶V ELG IRU
VSHDNHUVKLS  $ FRPELQDWLRQ RI ILQDQFLDO UHFRUGV GRFXPHQWV UHFRYHUHG IURP VHDUFK ZDUUDQWV
PHGLDUHSRUWVOHJLVODWLYHUHFRUGVDQGZLWQHVVLQWHUYLHZVVKRZWKDWWKH(QWHUSULVHVHOHFWHGDJURXS
RI FDQGLGDWHV WR UXQ IRU RSHQ VHDWV LQ WKH SULPDU\ DJDLQVW VXSSRUWHUV RI +RXVHKROGHU¶V ULYDO
5HSUHVHQWDWLYH  ZKR ZDV EDFNHG E\ WKH WKHQFXUUHQW 6SHDNHU  7KH (QWHUSULVH PDQDJHG WKH
VHOHFWHGFDQGLGDWHV¶FDPSDLJQVSDLGWRVWDIIWKHPDQGGHVLJQHGDQGSDLGIRUWKHLUPDLOHUVDQG
FRPPHUFLDOV 7KH (QWHUSULVH VSHQW *HQHUDWLRQ 1RZ PRQH\ RQ DSSUR[LPDWHO\  GLIIHUHQW
FDQGLGDWHV ±  LQFOXGLQJ +RXVHKROGHU  LQ WKH SULPDU\ DQG VL[ DGGLWLRQDO FDQGLGDWHV LQ WKH
JHQHUDOHOHFWLRQ0RVWRIWKHVHFDQGLGDWHVZRQWKHJHQHUDOHOHFWLRQ$OOZKRZRQYRWHG
IRU+RXVHKROGHUDV6SHDNHUDQGDOOEXWWZRYRWHGIRUWKHOHJLVODWLYHEDLORXWIRU&RPSDQ\$
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   6RPHRIWKHFDQGLGDWHVVXSSRUWHGLQWKHSULPDU\HOHFWLRQZHUHQRWVXSSRUWHGLQWKHJHQHUDOHOHFWLRQZKLFKEDVHG
RQ P\ WUDLQLQJ DQG H[SHULHQFH LV OLNHO\ EHFDXVH WKH FDQGLGDWHV ZHUH LQ VDIH GLVWULFWV DQG ZRXOG SUHYDLO ZLWKRXW
VSHQGLQJUHVRXUFHVRQWKHFDPSDLJQ
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          $GGLWLRQDOO\ +RXVHKROGHU¶V SROLWLFDO FDPSDLJQ EHQHILWHG IURP &RPSDQ\ $WR
*HQHUDWLRQ1RZPRQH\GLUHFWO\LQWZRZD\V)LUVW&RPSDQ\$WR*HQHUDWLRQ1RZPRQH\ZDV
XVHG WR SD\ IRU VWDII ZKLFK ZRXOG RWKHUZLVH KDYH EHHQ SDLG E\ +RXVHKROGHU¶V FDQGLGDWH
FRPPLWWHH)ULHQGVRI/DUU\+RXVHKROGHU1RWKDYLQJWRSD\VWDIIVDODULHVXVLQJFDPSDLJQGROODUV
JDYH +RXVHKROGHU D FRPSHWLWLYH DGYDQWDJH DJDLQVW KLV RSSRQHQWV  6HFRQGO\ +RXVHKROGHU
EHQHILWHG EHFDXVH &RPSDQ\ $WR*HQHUDWLRQ 1RZ PRQH\ ZKLFK SDVVHG WKURXJK WKH 3$&
SXUFKDVHGDGYHUWLVHPHQWVIRU+RXVHKROGHU¶VUDFHIRUWKHQGGLVWULFW,QWRWDODWOHDVWZDV
VSHQWE\WKH(QWHUSULVHRQ2KLRKRXVHGLVWULFWEHWZHHQ$SULOWKDQG$SULOWK WRSXUFKDVH
GLUHFWPDLODQGUDGLRDGYHUWLVHPHQWV
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          'RFXPHQWV UHFRYHUHG IURP /RQJVWUHWK VKRZ WKH (QWHUSULVH¶V SODQQLQJ DQG
SUHSDUDWLRQ LQ EXLOGLQJ 7HDP +RXVHKROGHU  )RU H[DPSOH D GRFXPHQW HQWLWOHG ³7HDP 6NLOOV´
ZKLFKZDVODVWPRGLILHGLQ)HEUXDU\SURSRVHGDOLVWRILQGLYLGXDOVIRUDOHDGHUVKLSWHDPIRU
LQFOXGLQJ6SHDNHURIWKH+RXVH6SHDNHU3UR7HPSRUH0DMRULW\)ORRU/HDGHU$VVLVWDQW
0DMRULW\/HDGHU0DMRULW\:KLSDQG$VVLVWDQW0DMRULW\:KLS$IWHU+RXVHKROGHUZDVHOHFWHG
6SHDNHULQDOORIWKHLQGLYLGXDOVH[FHSWIRURQHEHFDPHSDUWRI+RXVHKROGHU¶VOHDGHUVKLS
WHDP 7KHH[FHSWLRQZDVDUHSUHVHQWDWLYHZKRGLGQRWVXSSRUW+RXVHKROGHUIRU6SHDNHU 
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          ,QWHUPVRIWKHDFWXDOFDQGLGDWHVVHOHFWHGWREHSDUWRI+RXVHKROGHU¶VWHDPDJHQWV
UHFRYHUHGQXPHURXVGRFXPHQWVIURP/RQJVWUHWKZKLFKOLVWHGODUJHO\WKHVDPHVHOHFWJURXSRI
FDQGLGDWHVVXFKDVRQHHQWLWOHG³2IILFLDO3ULPDU\0DWFKXSV´WKDWSURYLGHHYLGHQFHRIWKH
UHFUXLWPHQWDQGYHWWLQJSURFHVV$JHQWVUHFRYHUHGGR]HQVRIVLPLODUGRFXPHQWVZKLFKUHIHUUHG
WR WKLV JURXS RI FDQGLGDWHV DV ³UHFUXLWPHQW XSGDWHV´ ³RXU WHDP´ RU ³7HDP +RXVHKROGHU´
5HJDUGOHVV RI WKH QDPH KRZHYHU LW LV FOHDU WKH (QWHUSULVH FRQVLGHUHG WKH HOHFWLRQ RI WKHVH
FDQGLGDWHVDQLQWHJUDOSDUWRILWVVWUDWHJ\IRUD+RXVHKROGHU6SHDNHUVKLS
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          1RWDEO\/RQJVWUHWK¶VOLVWPLUURUHG+RXVHPHPEHUVWKDW&RPSDQ\$LQWHQGHGWR
VXSSRUW LQ WKH  HOHFWLRQ  )RU H[DPSOH D :RUG GRFXPHQW LQ &HVSHGHV¶ SRVVHVVLRQ WLWOHG
³+RXVHKROGHU´ DQG FUHDWHG 0D\   DW SP²DIWHU SROOV FORVHG WKH QLJKW RI WKH 2KLR
3ULPDU\²OLVWHGWKH+RXVHKROGHUFDQGLGDWHVYHUVXVWKH5HSUHVHQWDWLYHFDQGLGDWHV
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    % )XQGLQJ³7HDP+RXVHKROGHU´
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         %DVHGRQP\WUDLQLQJDQGH[SHULHQFH,NQRZWKDWLQRUGHUWRH[HFXWHLWVVWUDWHJ\RI
HOHFWLQJ 7HDP +RXVHKROGHU FDQGLGDWHV WKH (QWHUSULVH QHHGHG WR UDLVH D VXEVWDQWLDO DPRXQW RI
PRQH\7KH+RXVH¶VWKHQFXUUHQW6SHDNHUKDGSLFNHG5HSUHVHQWDWLYHQRW+RXVHKROGHUWREH
KLVVXFFHVVRU$V&HVSHGHVH[SODLQHGLQDGRFXPHQWFUHDWHG0DUFK³>5HGDFWHG@LVD
ODPHGXFN6SHDNHUEXWLVKHDYLO\LQYROYHGLQWKHFDPSDLJQWRHOHFW>5HSUHVHQWDWLYH@DVWKHQH[W
2KLR6SHDNHU´7KLVPHDQWWKDWWKHZDUFKHVWRIWKHWKHQFXUUHQW6SHDNHUKDGDFFXPXODWHGWKURXJK
WKH 2KLR +RXVH 5HSXEOLFDQ 2UJDQL]DWLRQDO &RPPLWWHH 2+52&  ZRXOG EH VSHQW RQ
6SHDNHU5HSUHVHQWDWLYH EDFNHG FDQGLGDWHV %DVHG RQ P\ WUDLQLQJ H[SHULHQFH DQG WKH

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  0HGLDUHSRUWVLQGLFDWHWKDWWKHWKHQFXUUHQW6SHDNHUFRQWUROOHG2+52&DQGGHWHUPLQHGKRZIXQGVZHUHGLVSHUVHG
E.g.KWWSVZZZGLVSDWFKFRPQHZV2KRXVHKROGHUIOH[HVPXVFOHVZLWKLQRKLRKRXVHJRS%DQNUHFRUGV
VKRZ IXQGV FRQWUROOHG E\ UHSUHVHQWDWLYHV ZHUH GHSRVLWHG LQWR 2+52& DQG WKDW FRUSRUDWH FRQWULEXWLRQV DOVR ZHUH
GHSRVLWHGLQWRWKHIXQG

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LQYHVWLJDWLRQWREHDWWKH2+52&EDFNHGFDQGLGDWHVLQWKHSULPDULHVWKH(QWHUSULVHQHHGHGWR
RXWIXQGUDLVH WKHP DQG H[HFXWH VXFFHVVIXO FDPSDLJQ PHVVDJLQJ IRU WKH ³7HDP +RXVHKROGHU´
FDQGLGDWHV
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         $QH[FHOVSUHDGVKHHWUHFRYHUHGIURP/RQJVWUHWKWLWOHG³&DPSDLJQ%XGJHW
´DQGODVWHGLWHGLQ6HSWHPEHUVKRZVWKDWWKH(QWHUSULVHHVWLPDWHGWKHDPRXQWQHHGHGWR
LPSOHPHQWLWVVWUDWHJ\ZDVPRUHWKDQPLOOLRQ
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         6LPLODUO\GXULQJD-DQXDU\UHFRUGHGFRQYHUVDWLRQ&ODUNDQG+RXVHKROGHU
GLVFXVVHGWKHLUSODQWR³orchestrate (c)(4) checks´WRKHOS+RXVHKROGHUIXQGFDPSDLJQVIRUKLV
EHQHILW  6SHFLILFDOO\ &ODUN HVWLPDWHG WKDW +RXVHKROGHU ZRXOG ³need a hundred and twenty
thousand per race´WRZKLFK+RXVHKROGHUUHVSRQGHG³I’d say one fifty, but yeah, you’re in the
ballpark´7KH\WKHQGLVFXVVHGKRZWRUDLVHWKHDPRXQWWKH\QHHGLQ F  FKHFNVWRIXQG
FDQGLGDWHFDPSDLJQV&ODUNDOVRPHQWLRQHGWKDW³some people decided to help [Representative
1]´IRU6SHDNHUWRZKLFK+RXVHKROGHUUHVSRQGHG³yeah,we can fuck them over later´
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         8OWLPDWHO\WKH(QWHUSULVHIXQGHGDSSUR[LPDWHO\WZHQW\RQHFDQGLGDWHFDPSDLJQV
ZKLFKXVLQJWKHPHWULFGLVFXVVHGE\&ODUNDQG+RXVHKROGHULQWKH-DQXDU\FDOOPHDQWWKDW
+RXVHKROGHU ZRXOG QHHG WR UDLVH EHWZHHQ URXJKO\  PLOOLRQ DQG  PLOOLRQ WR IXQG WKH
FDPSDLJQV
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    & 9ROXPH DQG 7LPLQJ RI &RPSDQ\ $ 3D\PHQWV WR (QWHUSULVH GXULQJ  (OHFWLRQ
        &\FOH
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         $WWKHVDPHWLPHWKH(QWHUSULVHZRUNHGRQD³JDPHSODQ´WRVHFXUH+RXVHKROGHU¶V
DVFHQVLRQ WR 6SHDNHUVKLS &RPSDQ\ $ QHHGHG D VROXWLRQ IRU LWV 2KLR QXFOHDU SODQWV  7KH
LQYHVWLJDWLRQ VKRZV WKDW WKH (QWHUSULVH DQG &RPSDQ\ $ IRUPHG ZKDW &RPSDQ\ $ OREE\LVW


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%RUJHV FDOOHG ³DQ XQKRO\ DOOLDQFH´  &RPSDQ\ $ IXQGHG +RXVHKROGHU¶V 6SHDNHUVKLS ELG LQ
H[FKDQJHIRUDOHJLVODWLYHIL[IRULWVQXFOHDUSRZHUSODQWV
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         7KH YROXPH RI &RPSDQ\ $¶V SD\PHQWV WKH WLPLQJ RI WKHVH SD\PHQWV
FRPPXQLFDWLRQVDQGFRRUGLQDWLRQDPRQJVWFRFRQVSLUDWRUVDQG&RPSDQ\ $ WKH RIILFLDO DFWLRQ
WDNHQE\+RXVHKROGHUDQGWKHDFWLRQVWRPDLQWDLQWKHRIILFLDODFWLRQVKRZWKHFRUUXSWDUUDQJHPHQW
ZDV&RPSDQ\$IXQGLQJ+RXVHKROGHU¶VVSHDNHUVKLSELGLQH[FKDQJHIRUDOHJLVODWLYHIL[
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         $VGHVFULEHGDERYHWKHYHKLFOHWRFROOHFWWKHYDVWDPRXQWVRIPRQH\QHHGHGIRU
+RXVHKROGHU¶V6SHDNHUVKLSELGZDV*HQHUDWLRQ1RZ)URPWKHWLPHWKH*HQHUDWLRQ1RZEDQN
DFFRXQWV ZHUH RSHQHG LQ  WKURXJK WKH 1RYHPEHU  JHQHUDO HOHFWLRQ WKH (QWHUSULVH
UHFHLYHGDSSUR[LPDWHO\PLOOLRQLQWR*HQHUDWLRQ1RZ0RUHWKDQKDOIRIWKDWPRQH\FDPH
IURP&RPSDQ\$RUWKH(QHUJ\3DVV7KURXJKIXOO\IXQGHGE\&RPSDQ\$0RUHWKDQDKDOI
PLOOLRQRIWKHUHPDLQLQJPRQH\FDPHIURPHQHUJ\UHODWHGHQWLWLHVWKDWHLWKHUKDGDUHODWLRQVKLS
ZLWK &RPSDQ\ $ RU DQ LQWHUHVW LQ WKH EDLORXW OHJLVODWLRQ  7KH UHPDLQLQJ DPRXQW RI PRQH\
 DSSUR[LPDWHO\PLOOLRQ FDPHIURPDSSUR[LPDWHO\RWKHULQWHUHVWJURXSV
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         7KHLQYHVWLJDWLRQVKRZV&RPSDQ\$PDGHUHJXODUTXDUWHUO\SD\PHQWVRI
LQWR*HQHUDWLRQ1RZ¶VPDLQEDQNDFFRXQWDOPRVWLPPHGLDWHO\DIWHU/RQJVWUHWKRSHQHGLWLQ
%XW LQ 0DUFK  DSSUR[LPDWHO\ WZR ZHHNV EHIRUH &RPSDQ\ $¶V &RUS DIILOLDWHV ILOHG IRU
EDQNUXSWF\ &RPSDQ\ $ EHJDQ IXQQHOLQJ SD\PHQWV WR *HQHUDWLRQ 1RZ WKURXJK (QHUJ\ 3DVV
7KURXJK  7KH SD\PHQWV ZLUHG IURP &RPSDQ\ $ 6HUYLFH &R LQWR WKH (QHUJ\ 3DVV7KURXJK
RULJLQDWHGIURPDFFRXQW[WKHVDPHDFFRXQWXVHGWRZLUHSD\PHQWVGLUHFWO\IURP&RPSDQ\
$6HUYLFH&RLQWR*HQHUDWLRQ1RZ,QWKHILQDOPRQWKEHIRUHWKHJHQHUDOHOHFWLRQ&RPSDQ\
$GURSSHGDQRWKHULQWRWKH*HQHUDWLRQ1RZDFFRXQW7KLVWLPHWKHPRQH\ZDVSDLGE\
FKHFNIURPDFFRXQW[7KHSD\PHQWVIURP&RPSDQ\$IURPDUHVXPPDUL]HG
EHORZ
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 %DQNUHFRUGVLQGLFDWHWKDW[LVDOVRD&RPSDQ\$6HUYLFH&RDFFRXQW)RUH[DPSOHWKHFKHFNVWR*HQHUDWLRQ
1RZIURP[ZHUHVLJQHGE\WKH6HQLRU93DQG&)2IRU&RPSDQ\$6HUYLFH&RZKRLVQRZWKH3UHVLGHQWRI
&RPSDQ\$&RUS

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Case: 1:20-cr-00077-TSB Doc #: 5 Filed: 07/21/20 Page: 29 of 82 PAGEID #: 659
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FDQGLGDWHV7KHGLVEXUVHPHQWVIURP*HQHUDWLRQ1RZDQGWKHLUUHODWLYHGLVWULEXWLRQGDWHVWRWKH
3$&DQG-3/OHDGLQJXSWRWKHSULPDU\ZHUHDVIROORZV
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         -DQ        *HQHUDWLRQ1RZ                 ZLUH              -3/
         -DQ        *HQHUDWLRQ1RZ                   ZLUH               -3/
         )HE        *HQHUDWLRQ1RZ                   ZLUH              -3/
         0DU        *HQHUDWLRQ1RZ                 ZLUH              -3/
         0DU        *HQHUDWLRQ1RZ                 ZLUH              -3/ 
         $SULO        *HQHUDWLRQ1RZ                   ZLUH              3$&
         $SULO        *HQHUDWLRQ1RZ                  ZLUH              -3/
         $SULO       6SHDNHUUHVLJQV
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         $SULO       *HQHUDWLRQ1RZ                   ZLUH              -3/
         $SULO       *HQHUDWLRQ1RZ                   ZLUH              -3/
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         0D\          2KLRSULPDU\
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         7RWDORYHUPLOOLRQ
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         3KRQH UHFRUGV FRUURERUDWH WKH IDFW WKDW WKH 6SHDNHU¶V UHVLJQDWLRQ PDUNHG D
VLJQLILFDQWPRPHQWRIPRELOL]DWLRQIRUWKH(QWHUSULVHZKLFKZDVPDGHSRVVLEOHEHFDXVHRIWKH
SD\PHQWVIURP&RPSDQ\$2QWKHGD\RIWKH6SHDNHU¶VUHVLJQDWLRQ+RXVHKROGHUDQG/RQJVWUHWK
KDG D PLQXWH FDOO  6KRUWO\ WKHUHDIWHU WKH\ ERWK EHJDQ PDNLQJ WKH URXQGV  +RXVHKROGHU
FRQWDFWHG&RPSDQ\$6HUYLFH&R¶V6U9LFH3UHVLGHQWRI([WHUQDO$IIDLUVDQGSURFHHGHGWRKDYH
DPLQXWHSKRQHFDOO/RQJVWUHWKFRPPXQLFDWHGZLWK&RPSDQ\$&RUS¶V2KLR'LUHFWRURI6WDWH
$IIDLUVDQGIROORZHGLPPHGLDWHO\ZLWKDFDOOWRWKHDWWRUQH\IRUWKH3$&DQGWKHQFRPPXQLFDWLRQ
ZLWKDQH[HFXWLYHRI3ROLWLFDO6WUDWHJ\)LUP/RQJVWUHWKDQG+RXVHKROGHUWKHQFRPPXQLFDWHG
ZLWKPDQ\7HDP+RXVHKROGHUFDQGLGDWHVWKURXJKRXWWKHGD\
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         $OOWROG*HQHUDWLRQ1RZVSHQWPRUHWKDQPLOOLRQRQWKH6SULQJSULPDU\
UDFHV²ODUJHO\E\IXQQHOLQJWKH&RPSDQ\$WR*HQHUDWLRQ1RZPRQH\WKURXJKWKH3$&7KH
VSHFLILFXVHRIWKHPRQH\LVFRQILUPHGE\VXESRHQDHGUHFRUGV)RUH[DPSOHQHDUO\DOORIWKH
*HQHUDWLRQ1RZPRQH\ZLUHGLQWRWKH3$&ZDVVHQWWRHLWKHUWR0HGLD6HUYLFHV&RPSDQ\RU
WKH3ROLWLFDO6WUDWHJ\)LUP&KHFNVZHUHLVVXHGIURP0HGLD6HUYLFHV&RPSDQ\WRYDULRXV
UDGLRVWDWLRQVIRUPHGLDEX\V0DQ\RIWKHVHFKHFNVQRWHWKH+RXVHGLVWULFWUDFHUHODWHGWRWKH
EX\DQGWKHGLVWULFWUDFHVGHQRWHGRQWKRVHFKHFNVFRUUHVSRQGZLWK/RQJVWUHWK¶VOLVWVRI7HDP
+RXVHKROGHUFDQGLGDWHV
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         1RWRQO\GLG*HQHUDWLRQ1RZVSHQGPLOOLRQRQ7HDP+RXVHKROGHUFDQGLGDWHV
EXWDWOHDVWRIWKDWPRQH\IXQGHGFDPSDLJQH[SHQVHVIRU+RXVHKROGHU¶VRZQFDPSDLJQ
WKXVEHQHILWWLQJKLPSHUVRQDOO\RXWVLGHWKHFRQWH[WRIKLVSXEOLFFDPSDLJQIXQG
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  7KLV ILJXUH H[FOXGHV SD\PHQWV WR $VVRFLDWH  IRU VDODU\ DQG *HQHUDWLRQ 1RZ UHQW SD\PHQWV WR WKH 3ROLWLFDO
$GYHUWLVLQJ$JHQF\GXULQJWKHVDPHWLPHIUDPH

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         ,Q DGGLWLRQ WR EDQN UHFRUGV WKH 3$& ILOHG DQ )(& PLG\HDU UHSRUW LQ 
RXWOLQLQJLWVH[SHQGLWXUHVLQWKHSULPDU\$OWKRXJKWKHUHSRUWIDLOHGWROLVWFDQGLGDWHVE\QDPH²
DQGWKRVHFDQGLGDWHVGLGQRWUHSRUWLQNLQGJLIWVRUFRQWULEXWLRQVIURPWKH3$&²WKHUHSRUWGLGOLVW
H[SHQGLWXUHVLQFRQQHFWLRQZLWKFHUWDLQ2KLR+RXVHGLVWULFWV$QGWKRVH+RXVH'LVWULFWVDJDLQ
FRUUHVSRQGHG ZLWK WKH (QWHUSULVH¶V FDQGLGDWHV  7KH DPRXQWV OLVWHG LQ WKH 3$&¶V )(& UHSRUW
ZKLFKFRUUHVSRQGWRSDUWLFXODU+RXVH'LVWULFWVWRWDOPRUHWKDQ
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         :KLOHWKHLQYHVWLJDWLRQVVKRZVWKDWWKH3$&SDLG0HGLD6HUYLFHV&RPSDQ\DQG
3ROLWLFDO6WUDWHJ\)LUPQHDUO\WKHHQWLUHPLOOLRQGROODUVLWKDGUHFHLYHGEHIRUHWKH6SULQJ
SULPDU\ EDQN UHFRUGV IURP -3/ [ VKRZ WKDW /RQJVWUHWK DOVR GLVSHUVHG DSSUR[LPDWHO\ 
PLOOLRQRIWKHPRQH\KHUHFHLYHGIURP*HQHUDWLRQ1RZWRPHGLDFRPPXQLFDWLRQDQGVWUDWHJ\
FRQVXOWLQJFRPSDQLHVLQVXSSRUWRIWKH(QWHUSULVH¶VSULPDU\HIIRUWVIURP-DQXDU\WR0D\
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IXUWKHUDQFHRILWVSXUSRVHVZLWKWKHSD\PHQWVIURP&RPSDQ\$)RUH[DPSOHRQ0DUFK
*HQHUDWLRQ1RZ ZLUHGWKH-3/[ DFFRXQW  IRU ³DGYHUWLVLQJ´  7KH QH[W GD\-3/
[ ZLUHG  WR (OHFWLRQ 0DUNHWLQJ &RPSDQ\   %HWZHHQ $SULO  DQG  
*HQHUDWLRQ1RZZLUHGDWRWDORIWR-3/[ZKLFKWKHQZLUHG'LUHFW0DLO&RPSDQ\
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VWURQJHUFRQVLGHULQJWKDW/RQJVWUHWKLVDVLJQDWRU\RQWKH*HQHUDWLRQ1RZDQG[DFFRXQWV
GHPRQVWUDWLQJWKDWKHXVHGWKH-3/DFFRXQWDVDSDVVWKURXJKWRSD\WKHFRPSDQLHV
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FDQGLGDWHVZLQQLQJWKHLUSULPDULHV2QRUDERXW-XO\DIHZPRQWKVDIWHUWKHSULPDULHV
 ZDV ZLUHG IURP /RQJVWUHWKFRQWUROOHG DFFRXQWV WR VHWWOH D SHUVRQDO ODZVXLW DJDLQVW
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H[HFXWLYHV LQ &ROXPEXV DFFRUGLQJ WR GRFXPHQWV LQ &HVSHGHV¶ SRVVHVVLRQ D FRXUW ILOLQJ LQ
)UDQNOLQ&RXQW\&RXUW³UHOHDVHGDQGIRUHYHUGLVFKDUJHG´WKHMXGJPHQWDJDLQVW+RXVHKROGHUDQG
+RXVHKROGHU/WG7KHPDLQ-3/DFFRXQWZDVIXQGHGZLWKZLUHWUDQVIHUVIURP*HQHUDWLRQ1RZ
ZKLFKZDVIXQGHGLQODUJHSDUWE\&RPSDQ\$ZLUHV,QDGGLWLRQEDQNUHFRUGVVKRZWKDW-3/¶V
PDLQ DFFRXQW DOVR SDLG +RXVHKROGHU¶V DWWRUQH\V LQYROYHG LQ WKH ODZVXLW LQ 0D\  YLD WZR
FKHFNVWRWDOLQJ$WWKHWLPH-3/PDGHWKRVHSD\PHQWVLWKDGUHFHLYHGPRUHWKDQ
IURP *HQHUDWLRQ 1RZ ZKLFK KDG EHHQ IXQGHG VROHO\ E\ DZLUHIURP &RPSDQ\ $ D
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RQHQVXULQJWKH7HDP+RXVHKROGHUFDQGLGDWHVZRQWKHJHQHUDOHOHFWLRQLQ1RYHPEHU$VVHWIRUWK
EHORZWKH(QWHUSULVHXVHGDQHZFRUSRUDWHHQWLW\ 'DUN0RQH\*URXS WRIXUWKHULWVSXUSRVHV
ZKLFK ZDV IXQGHG E\ &RPSDQ\ $ *HQHUDWLRQ 1RZ DV IXQGHG E\ &RPSDQ\ $  DQG UHODWHG
LQWHUHVWVDQGWKHQXVHGDOPRVWDOORIWKRVHIXQGVWRIXUWKHUWKHFDPSDLJQVRI7HDP+RXVHKROGHU
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PLOOLRQLQWRWKH*HQHUDWLRQ1RZZDUFKHVW$VGHWDLOHGLQWKHFKDUWDERYHWKHSD\PHQWVIURP
&RPSDQ\$FDPHLQWKHIRUPRIFKHFNVRUYLD(QHUJ\3DVV7KURXJK3ULRUWRWKHVHSD\PHQWVWKH
(QWHUSULVHQHHGHGPRQH\²*HQHUDWLRQ1RZKDGOHVVWKDQLQLWVDFFRXQWMXVWSULRUWRDQ
(QHUJ\3DVV7KURXJKZLUHLQ$XJXVW-XVWOLNHLQWKHSULPDU\VHDVRQ*HQHUDWLRQ
1RZIXQQHOHGDVXEVWDQWLDODPRXQWRILWV&RPSDQ\$PRQH\WKURXJKDVHSDUDWHHQWLW\²WKLVWLPH
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*HQHUDWLRQ1RZZLUHGDWRWDORI%DQNUHFRUGVVKRZWKDWWKHRQO\GHSRVLWVLQWKHDFFRXQW
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DQGWLPLQJRIWKHSD\PHQWVIURP&RPSDQ\$SURYHGFUXFLDOWRWKH(QWHUSULVH¶VVXFFHVV)XQQHOHG
WKURXJK(QHUJ\3DVV7KURXJKWR*HQHUDWLRQ1RZ&RPSDQ\$LQIXVHGRYHUDPLOOLRQGROODUVLQWR
'DUN0RQH\*URXSLQWKHIDOORIDORQHZKLFKDOORZHGWKH(QWHUSULVHWRIORRGWKHDLUZD\V
ZLWKQHJDWLYHDGVDJDLQVWLWVRSSRQHQWVLQWKHILQDOGD\VEHIRUHWKHHOHFWLRQ
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         6SHFLILFDOO\ EDQN UHFRUGV VKRZ WKDW RXW RI WKH  PLOOLRQ GHSRVLWHG LQWR WKH
'DUN 0RQH\ *URXS  DFFRXQW 'DUN 0RQH\ *URXS  SDLG PRUH WKDQ  PLOOLRQ WR 0HGLD
3ODFHPHQW&RPSDQ\DILUPWKDWERXJKWWHOHYLVLRQDQGUDGLRDGVLQ'DUN0RQH\*URXS¶VQDPH
)HGHUDO &RPPXQLFDWLRQV &RPPLVVLRQ )&&  UHFRUGV FRQILUP WKH H[SHQGLWXUHV  6SHFLILFDOO\
SXEOLFGRFXPHQWVILOHGZLWKWKH)&&VKRZ0HGLD3ODFHPHQW&RPSDQ\SXUFKDVHGPRUHWKDQ
PLOOLRQZRUWKRIDGYHUWLVHPHQWVIRU'DUN0RQH\*URXSLQWKHWHQGD\VEHIRUHWKHHOHFWLRQ
%DVHGRQWKHWHOHYLVLRQDQGUDGLRVWDWLRQVWDUJHWHGWKHEXONRIWKHPHGLDEX\VZHUHVSHQWRQDGV
LQWKHGLVWULFWVRI7HDP+RXVHKROGHUFDQGLGDWHVLQWLJKWUDFHV
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         7KH VWUDWHJ\ ZRUNHG  7KH FOHDUHVW H[DPSOH FRPHV IURP RQH KLJKO\ FRQWHVWHG
+RXVH 'LVWULFW UDFH  $OWKRXJK WKH (QWHUSULVH LQLWLDOO\ EDFNHG &DQGLGDWH  LQ WKH SULPDU\
&DQGLGDWHORVWLQWKH6SULQJSULPDU\EHDWE\5HSUHVHQWDWLYH,QWKHJHQHUDOHOHFWLRQ
5HSUHVHQWDWLYH  IDFHG D WLJKW UDFH DJDLQVW WKH RSSRVLQJ SDUW\¶V FDQGLGDWH  +RZHYHU
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5HSUHVHQWDWLYHXOWLPDWHO\SUHYDLOHGE\YRWHV5HSUHVHQWDWLYH¶VYLFWRU\ZDVFUHGLWHGWRD
QHJDWLYHDGUXQE\'DUN0RQH\*URXSZKLFKVKRZHGWKHRSSRVLQJFDQGLGDWHWDNLQJDILHOG
VREULHW\WHVW\HWRQO\UHFHLYLQJDVSHHGLQJWLFNHW7KHDGHVVHQWLDOO\DFFXVHGWKHFDQGLGDWHRI
PLVXVLQJ KLV DXWKRULW\  $OWKRXJK WKH FDQGLGDWH DQG WKH SROLFH XQLRQ FRQGHPQHG WKH DG WKH
GDPDJHZDVGRQH²WKHRSSRVLQJFDQGLGDWHZKRUHSRUWHGO\KDGDSRLQWOHDGEHIRUHWKHDGDLUHG
ORVWWKHHOHFWLRQ0HGLDUHSRUWVFUHGLWHGWKH'DUN0RQH\*URXSDGZLWKWLSSLQJWKHVFDOHV
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         $IWHU WKH HOHFWLRQ +RXVHKROGHU WRRN FUHGLW IRU WKH DG DJDLQVW WKH RSSRVLQJ
FDQGLGDWHUHPDUNLQJWR,QGLYLGXDOWKDWKH +RXVHKROGHU KDGSXWLQWRWKDWUDFHLQWKH
ILQDOZHHNV+RXVHKROGHU¶VFRPPHQWZDVPDGHGXULQJDPHHWLQJDIWHUWKHHOHFWLRQLQ1RYHPEHU
 ZKHUH ,QGLYLGXDO  ZKR ZDV D SURVSHFWLYH 7HDP +RXVHKROGHU FDQGLGDWH IRU WKH 
HOHFWLRQ ZDV EHLQJ LQWHUYLHZHG E\ +RXVHKROGHU  %DVHG RQ WKLV GLVFXVVLRQ ,QGLYLGXDO 
XQGHUVWRRG IURP +RXVHKROGHU WKDW LI KHVKH ZHUH VHOHFWHG KHVKH ZRXOG KDYH +RXVHKROGHU¶V
ILQDQFLDO EDFNLQJ MXVW OLNH 5HSUHVHQWDWLYH   7KLV VKRZHG +RXVHKROGHU¶V FRQWURO RYHU 'DUN
0RQH\*URXSIXQGV,QGLYLGXDOKDVSURYLGHGRWKHULQIRUPDWLRQUHOHYDQWWRWKHLQYHVWLJDWLRQ
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         $FRS\RIWKHYLGHRDGUXQDJDLQVWWKHRSSRVLQJFDQGLGDWHZDVUHFRYHUHGE\DJHQWV
IURP/RQJVWUHWK1RWDEO\WKHYLGHRLQ/RQJVWUHWK¶VSRVVHVVLRQDSSHDUVWREHD³GUDIW´RU³URXJK
FXW´RIWKH'DUN0RQH\*URXSDGHYLGHQFHGE\WKHILOHQDPHRIWKHYLGHRZKLFKDSSHDUVLQWKH
OHIWKDQGFRUQHURIWKHUHFRYHUHGYLGHR7KHIDFWWKDWWKLVYLGHRZDVUHFRYHUHGIURP/RQJVWUHWK
DOVRGHPRQVWUDWHVWKH(QWHUSULVH¶VFRQWURORYHU'DUN0RQH\*URXSDQGKRZWKHSD\PHQWVIURP
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7KURXJK -3/ /RQJVWUHWK SDLG KLPVHOI KLV DVVRFLDWHV DQG D QXPEHU RI FDPSDLJQ PDQDJHUV
ZRUNLQJRQWKHFDPSDLJQVRI7HDP+RXVHKROGHUFDQGLGDWHV,QGHHG&+6ZKRKDVSURYLGHG
UHOLDEOH DQG FUHGLEOH LQIRUPDWLRQ FRUURERUDWHG E\ WKH LQYHVWLJDWLRQ DGYLVHG WKDW KHVKH ZDV
ZRUNLQJRQWKHFDPSDLJQRID7HDP+RXVHKROGHUFDQGLGDWHGXULQJWKHIDOOJHQHUDOHOHFWLRQ
EXW WKDW &+6  ZDV SDLG E\ /RQJVWUHWK  6XESRHQDHG UHFRUGV FRQILUP WKH PDLQ -3/ DFFRXQW
ZKLFKKDGUHFHLYHGPRQH\IURP*HQHUDWLRQ1RZSDLGWKH&+6 7KLVVKRZVWKDW&RPSDQ\$
WR*HQHUDWLRQ1RZPRQH\ZDVXVHGE\WKH(QWHUSULVHWREHQHILW7HDP+RXVHKROGHUFDQGLGDWHV²
WKXV SURYLGLQJ D EHQHILW WR +RXVHKROGHU KLPVHOI  /RQJVWUHWK DOVR SDLG VHYHUDO PHGLD
FRPPXQLFDWLRQV VWUDWHJ\ DQG GLUHFW PDLO JURXSV  %HVLGHV 'DUN 0RQH\ *URXS  DQG -3/
*HQHUDWLRQ1RZDOVRSDLGUHQWWR3ROLWLFDO$GYHUWLVLQJ$JHQF\DQGDPRQWKWR$VVRFLDWH
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         8OWLPDWHO\ WKH (QWHUSULVH¶V ³*DPH SODQ ´ ZRUNHG  %\ FRRUGLQDWLQJ DQG
ILQDQFLDOO\EDFNLQJWKH7HDP+RXVHKROGHUFDQGLGDWHVXVLQJ&RPSDQ\$PRQH\WKH(QWHUSULVH
KHOSHG HOHFW D JURXS RI UHSUHVHQWDWLYHV OR\DO WR +RXVHKROGHU  $OO RI WKH FDQGLGDWHV ZKR ZHUH
ILQDQFLDOO\ VXSSRUWHG E\ WKH (QWHUSULVH DQG ZRQ LQ WKH  JHQHUDO HOHFWLRQ YRWHG WR PDNH
+RXVHKROGHU LQVWHDG RI 5HSUHVHQWDWLYH  6SHDNHU :LWK WKHLU YRWHV +RXVHKROGHU VHFXUHG WKH



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6SHDNHUVKLS LQ   $QG DV GHVFULEHG LQ WKH QH[W VHFWLRQ WZR RI WKH 7HDP +RXVHKROGHU
FDQGLGDWHVFDUULHGWKH&RPSDQ\$OHJLVODWLYHEDLORXWIRUKLP


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         +DYLQJ VHFXUHG +RXVHKROGHU¶V SRZHU DV 6SHDNHU WKH (QWHUSULVH WUDQVLWLRQHG
TXLFNO\ WR IXOILOOLQJ LWV HQG RI WKH FRUUXSW EDUJDLQ ZLWK &RPSDQ\ $²SDVVLQJ QXFOHDU EDLORXW
OHJLVODWLRQ,QIDFWRQ-DQXDU\WKHGD\KHZDVHOHFWHG6SHDNHU+RXVHKROGHUSOHGJHGWR
FUHDWH D VWDQGLQJ VXEFRPPLWWHH RQ HQHUJ\ JHQHUDWLRQ  +RXVHKROGHU WKHQ IROORZHG WKURXJK
VKRUWO\DIWHUKLVHOHFWLRQDV6SHDNHUE\SDVVLQJWKH+%OHJLVODWLRQDQGGHIHQGLQJWKHELOODJDLQVW
WKHEDOORWLQLWLDWLYHFKDOOHQJH

          7KH (QWHUSULVH¶V HIIRUWV WR SDVVWKH OHJLVODWLRQ DQG SUHVHUYH LW DJDLQVW WKH %DOORW
&DPSDLJQFKDOOHQJHZHUHIXQGHGHQWLUHO\E\&RPSDQ\$WKURXJKSD\PHQWVWR*HQHUDWLRQ1RZ
:KLOH+%ZDVSHQGLQJLQWKH+RXVH&RPSDQ\$ZLUHG*HQHUDWLRQ1RZ:KHQ
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LWV HIIRUWV WR GHIHDW WKH %DOORW &DPSDLJQ &RPSDQ\ $ ZLUHG DQ DGGLWLRQDO  WR
*HQHUDWLRQ1RZ7KHYROXPHDQGIUHTXHQF\RIWKHVHSD\PHQWVSURYLGHIXUWKHUHYLGHQFHRIWKH
(QWHUSULVH¶V FRUUXSW DUUDQJHPHQW ZLWK &RPSDQ\ $  7KHVH IDFWV LQFOXGLQJ WKH (QWHUSULVH¶V
SDVVDJH RI +%  LWV HIIRUWV WR GHIHDW WKH VXEVHTXHQW %DOORW &DPSDLJQ DQG &RPSDQ\ $¶V
LQYROYHPHQWDQGFRRUGLQDWLRQIXQGLQJWKHVHHIIRUWVDUHVHWIRUWKIXOO\EHORZ


     $ +RXVH%LOO

          &RQVLVWHQWZLWKWKHLUDJUHHPHQWWKH(QWHUSULVHLPSOHPHQWHGDVWUDWHJ\WRSDVVD
OHJLVODWLYH IL[ IRU &RPSDQ\ $ VKRUWO\ DIWHU +RXVHKROGHU ZDV VHOHFWHG 6SHDNHU 7KH VWUDWHJ\
LQYROYHGUDPPLQJDVZHHSLQJSLHFHRIOHJLVODWLRQ²+%²WKURXJKWKH+RXVHDQGSXVKLQJWKH
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VSRQVRUWKHELOOWKDWKHKHOSHGGUDIW6HFRQG+RXVHKROGHUFUHDWHGDQHZVXEFRPPLWWHHWRKHDU
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LQ DQ H[SHQVLYH PHGLD EOLW] IXQGHG E\ &RPSDQ\ $WR*HQHUDWLRQ1RZ SD\PHQWV WR SUHVVXUH
SXEOLF RIILFLDOV WR VXSSRUW WKH ELOO  )RXUWK +RXVHKROGHU VWURQJDUPHG +RXVH PHPEHUV
SDUWLFXODUO\RSSRQHQWVRIWKHELOO)LQDOO\+RXVHKROGHUDQGWKH(QWHUSULVHSUHVVXUHG6HQDWRUVWR
SDVVWKHOHJLVODWLRQ7KHH[SHGLHQF\DQGIXQGLQJRIWKLVOHJLVODWLYHHIIRUWDQGWKHWDFWLFVXVHGE\
WKH (QWHUSULVH²DORQJ ZLWK WLPHO\ FRPPXQLFDWLRQV EHWZHHQ (QWHUSULVH PHPEHUV DQG DJHQWV RI
&RPSDQ\$²DUHIXUWKHUHYLGHQFHRIWKHDJUHHPHQWEHWZHHQ+RXVHKROGHUDQG&RPSDQ\$

        7KLVLVSUHFLVHO\ZKDW(QWHUSULVHPHPEHUDQG&RPSDQ\$OREE\LVW-XDQ&HVSHGHV
SODQQHG  ,Q D :RUG GRFXPHQW DJHQWV UHFRYHUHG IURP &HVSHGHV WLWOHG ³2KLR /HJLVODWRU
%DFNJURXQG´ DQG DXWKRUHG 0D\   &HVSHGHV UHIHUHQFHG +RXVHKROGHU DV D ³current

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  KWWSVZZZGD\WRQGDLO\QHZVFRPQHZVVWDWHUHJLRQDOJRYWSROLWLFVODUU\KRXVHKROGHUHOHFWHGQHZRKLRKRXVH
VSHDNHUDOW.['$PM7+7GYU':.

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candidate for Ohio Speaker´ DQG QRWHG WKDW ³he is willing to work on energy legislation.
Traditionally close to Company A´,QDQRWKHUGRFXPHQWWLWOHG³2KLR)XQGUDLVLQJ6XJJHVWLRQV´
DQGFUHDWHGRQ6HSWHPEHU&HVSHGHVVXJJHVWHGWKDW&RPSDQ\$VKRXOGFRQWLQXHWRVXSSRUW
WKH ³/DUU\ +RXVHKROGHU &DXFXV´ ILQDQFLDOO\ EHFDXVH ³Householder has a history of favorably
rewarding those who provide both early and late money into his efforts´&HVSHGHVPHQWLRQHGLQ
WKH GRFXPHQW WKDW &RPSDQ\ $¶V &(2 KDG D FRQYHUVDWLRQ ZLWK +RXVHKROGHU ³where [CEO]
suggested that we would/should independently support him as Company A-1´&HVSHGHVDOVRODLG
RXW&RPSDQ\$¶VDVSLUDWLRQVIRUWKHEDLORXWOHJLVODWLRQLQDGRFXPHQWWLWOHG³>&RPSDQ\$@2KLR
VW'UDIW7LPHOLQH´DQGDXWKRUHGE\&HVSHGHVRQ1RYHPEHU,QWKLVGRFXPHQW&HVSHGHV
ZURWHWKDWDOWKRXJKWKHQH[W6SHDNHUUHPDLQVXQFOHDUWKHUHVKRXOGEH³6SHDNHU¶VUDFHFODULW\PLG
'HFHPEHU´  DQG ³[i]f Householder is successful the effort will likely be led from his
Chamber´ZLWK³potential legislative introduction´IRU>&RPSDQ\$@LQHDUO\
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                     L +RXVH%LOO%DFNJURXQG
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         2Q$SULOURXJKO\WKUHHPRQWKVDIWHU+RXVHKROGHUEHFDPH6SHDNHU+%
ZDVLQWURGXFHG$OWKRXJKWLWOHG³2KLR&OHDQ$LU3URJUDP´WKHLQYHVWLJDWLRQVKRZVWKDW+%
HVVHQWLDOO\ZDVFUHDWHGWRSUHYHQWWKHVKXWGRZQRI&RPSDQ\$¶VQXFOHDUSODQWV+%FUHDWHVWKH
2KLR&OHDQ$LU3URJUDPZKLFKDOORZVQXFOHDURUVRODUFOHDQDLUUHVRXUFHVWRDSSO\WREHFHUWLILHG
FOHDQDLUUHVRXUFHVDQGWKHUHIRUHHOLJLEOHIRUDVXEVLG\RISHUPHJDZDWWKRXUSURGXFHG,Q
RUGHUWRSD\IRUWKHVXEVLG\WKH2KLR$LU4XDOLW\'HYHORSPHQW$XWKRULW\ZKLFKLVWDVNHGZLWK
DGPLQLVWHULQJWKH2KLR&OHDQ$LU3URJUDPZLOOLQVWLWXWHDQGFROOHFWDPRQWKO\IL[HGFKDUJHWRDOO
UHVLGHQWLDOFRPPHUFLDOLQGXVWULDODQGODUJHFRQVXPHUV7KHIL[HGIHHLVSURMHFWHGWRSURGXFH
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         2KLR FXUUHQWO\ KDV VL[ VRODU IDFLOLWLHV RYHU  PHJDZDWWV RI QDPHSODWH FDSDFLW\
ZKLFKVHUYHVDVWKHPLQLPXPWKUHVKROGQHFHVVDU\WRDSSO\WRUHFHLYHWKHVXEVLG\7KH\SURGXFH
DFRPELQHGPHJDZDWWVRISRZHU)RUFRPSDULVRQWKH&RPSDQ\$QXFOHDUSODQWVSURGXFHG
D FRPELQHG  PHJDZDWWV LQ   *LYHQ WKH SRZHU SURGXFHG &RPSDQ\ $ ZRXOG
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1HZVSDSHU UHSRUWLQJ WKURXJKRXW WKH VWDWH FKDUDFWHUL]HG +%  DV D ³EDLORXW´ IRU WKH EHQHILW RI
&RPSDQ\$VSHFLILFDOO\&ODUNDOVRFKDUDFWHUL]HG+%DVDEDLORXWIRU&RPSDQ\$
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                  LL +RXVHKROGHU³&UDIWV´+%DQG&UHDWHV6XEFRPPLWWHHIRU+%
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VXSSRUWLQJ ERWK E\ SD\LQJ IRU DGYHUWLVLQJ FDPSDLJQ VWUDWHJ\ DQG VWDIILQJ  $OWKRXJK
+RXVHKROGHUZDVQRWDOLVWHGVSRQVRURIWKHOHJLVODWLRQRQWKHGD\RIWKHLQWURGXFWLRQKHSXEOLFDOO\
VXSSRUWHGWKHOHJLVODWLRQDQGJDYHDSUHVVFRQIHUHQFHWRH[SODLQKRZLWZRXOGDIIHFW2KLR'XULQJ
WKH UHFRUGHG SUHVV FRQIHUHQFH +RXVHKROGHU FKDUDFWHUL]HG +%  DV ³the mysterious energy bill
we’ve been working on for quite a while in the House of Representatives´
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             +RXVHKROGHUIXUWKHUDGPLWWHGGXULQJWKH$SULOSUHVVFRQIHUHQFHWKDWKH
³crafted´WKHOHJLVODWLRQZLWKWKHIUHVKPDQUHSUHVHQWDWLYHV6SHFLILFDOO\ZKHQ+RXVHKROGHUZDV
DVNHGZKHUHWKHDPRXQWRIWKHVXEVLG\FDPHIURP+RXVHKROGHUUHVSRQGHG³it’s based on our
brains. For me, I look back, for two years I’ve had this in my head, and I’ve had various versions
on that white board over the last several months. And as I talked with [the freshman
representatives], we were able to define it even closer´$VGHVFULEHGDERYH+RXVHKROGHUUHFHLYHG
KLV ILUVW  SD\PHQW IURP &RPSDQ\ $ LQ 0DUFK  URXJKO\ WZR \HDUV SULRU WR
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³(QHUJ\*HQHUDWLRQ6XEFRPPLWWHH´ +RXVHKROGHUSXEOLFDOO\DQQRXQFHGWKDWKHZRXOGIRUPD
VXEFRPPLWWHHRQHQHUJ\JHQHUDWLRQRQ)HEUXDU\LQFRQMXQFWLRQZLWKDSUHVVUHOHDVHDERXW
+RXVHUXOHVIRUWKHUG*HQHUDO$VVHPEO\7ZRGD\VODWHU+RXVHKROGHUIRUPDOL]HGWKH(QHUJ\
*HQHUDWLRQ 6XEFRPPLWWHH LQ D SUHVV UHOHDVH DQQRXQFLQJ WKH FRPPLWWHH DVVLJQPHQWV RI +RXVH
PHPEHUV6LQFHLWVLQFHSWLRQWKHVXEFRPPLWWHHRQO\KDVEHHQDVVLJQHGRQHELOO²+%$WWKH
$SULOSUHVVFRQIHUHQFH+RXVHKROGHUDGPLWWHGWKDW+%³is why that Subcommittee was
created´
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             (LJKW+RXVHPHPEHUVZHUHDVVLJQHGWRWKH(QHUJ\*HQHUDWLRQ6XEFRPPLWWHH6L[
RI WKH HLJKW PHPEHUV KDG YRWHG IRU +RXVHKROGHU IRU 6SHDNHU  7KH WZR PHPEHUV ZKR GLG QRW
UHFRUGYRWHVIRU+RXVHKROGHUVLJQHGRQWREHFRVSRQVRUVRI+%,QWKHHQGDOOEXWWZRPHPEHUV
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EDFN WR WKH IXOO +RXVH (QHUJ\ DQG 1DWXUDO 5HVRXUFHV &RPPLWWHH RQ 0D\   ZLWK D
VXEVWLWXWLRQ+%WKHQKDGPXOWLSOHFRPPLWWHHPHHWLQJVZLWKLQWKH+RXVH(QHUJ\DQG1DWXUDO
5HVRXUFHV&RPPLWWHHDQGZDVDPHQGHGIXUWKHUEHIRUHEHLQJUHIHUUHGEDFNWRWKH+RXVHIORRUOHVV
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UHIHUUHGWRDQRWKHUFRPPLWWHHIRUDVXEVWLWXWLRQ²WKH5XOHVDQG5HIHUHQFH&RPPLWWHHZKLFKLV
UXQ E\ +RXVHKROGHU  *HQHUDOO\ HYHU\ ELOO JRLQJ IURP D VXEVWDQWLYH FRPPLWWHH WR D IORRU YRWH
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     5HSUHVHQWDWLYHDOVRUHFHLYHGLQGLUHFWFRQWULEXWLRQVWRKLVFDPSDLJQDFFRXQWIURP&RPSDQ\$

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SDVVHV WKURXJK WKH +RXVH 5XOHV DQG 5HIHUHQFH &RPPLWWHH WR UHFHLYH D GDWH IRU D IORRU YRWH
+RZHYHULWLVXQXVXDOIRUDELOOWREHDPHQGHGGXULQJVXFKSDVVDJH%DVHGXSRQP\WUDLQLQJDQG
H[SHULHQFH RQFH D ELOO KDV EHHQ YHWWHG E\ FRPPLWWHH DQG UHFRPPHQGHG IRU SDVVDJH LW LV
XQFRPPRQIRULWEHDPHQGHGLQDQRWKHUFRPPLWWHH)RUFRQWH[WWKH+RXVH(QHUJ\DQG1DWXUDO
5HVRXUFHV &RPPLWWHH DQG (QHUJ\ *HQHUDWLRQ 6XEFRPPLWWHH KHOG WHQ FRPPLWWHH PHHWLQJV DQG
KHDUG WHVWLPRQ\ IURP GR]HQV RI VWDNHKROGHU JURXSV EHIRUH DPHQGLQJ WKH OHJLVODWLRQ D SURFHVV
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RIUROOFDOO:KHQDQLQIRUPDOSDVVLVWDNHQIXUWKHUQHJRWLDWLRQVDQGFRPSURPLVHVDUHQHFHVVDU\
IRUWKH6SHDNHUWRDFTXLUHWKHQHFHVVDU\YRWHVIRUWKHELOOWRSDVV$IWHUWKHLQIRUPDOSDVVZDV
WDNHQ WKH +RXVH VWRRG DW UHFHVV  %DVHG RQ P\ WUDLQLQJ DQG H[SHULHQFH WKLV VKRZV WKDW
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(QWHUSULVH DQG WKXV SURYLGHV IXUWKHU HYLGHQFH RI WKH FRUUXSW DUUDQJHPHQW ZLWK &RPSDQ\ $
'RFXPHQWV SRVVHVVHG E\ /RQJVWUHWK VKRZ WKDW WKH (QWHUSULVH KDG EXGJHWHG IRU DQ ZHHN
FDPSDLJQZKHUHWKH³RYHUDOOEXGJHWZRXOGEHPIRUDIXOOEXUQ´7KHPHGLDFDPSDLJQZDV
GHVLJQHG WR SUHVVXUH OHJLVODWRUV WR YRWH IRU +%  E\ WDUJHWLQJ WKHLU FRQVWLWXHQWV  7KH PHGLD
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Case: 1:20-cr-00077-TSB Doc #: 5 Filed: 07/21/20 Page: 43 of 82 PAGEID #: 673
Case: 1:20-cr-00077-TSB Doc #: 5 Filed: 07/21/20 Page: 44 of 82 PAGEID #: 674
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UHLWHUDWLQJ5HSUHVHQWDWLYH¶VFRQWUDU\SRVLWLRQ+RXVHKROGHULPPHGLDWHO\UHVSRQGHG³I just want
you to remember – when I needed you – you weren’t there. twice.´7KHVHPHVVDJHVVKRZWKDW
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UHOHDVHGDVWDWHPHQWRQ0D\³This bill provides an effective legislative solution to keep
[Company A-1’s] nuclear power plants open for many years to come, while preserving 4,300
highly-skilled jobs and an important revenue source´7KHVWDWHPHQWZHQWRQ³Until the Senate
vote, [Company A-1] will continue to engage in a constructive dialogue with legislators about the
need to protect 90% of the state's zero-emissions electricity and provide the majority of Ohioans
considerable savings on their electricity bills´
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WKXVGHPRQVWUDWLQJWKDW+RXVHKROGHUKDGWKHILQDOZRUGDVWR*HQHUDWLRQ1RZPHVVDJLQJ

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KRZHYHUFRQVLVWHQWZLWKWKH-XQHUGPHHWLQJQRWHVWKHFRPPHUFLDOVWDUJHWHGSDUWLFXODUVHQDWRUV
DQG XUJHG YRWHUV WR FDOO WKH SDUWLFXODU VHQDWRU DQG XUJH WKHP WR VXSSRUW +%  VR WKRXVDQGV RI
2KLRDQVZLOOQRWORVHWKHLUMREV)RUH[DPSOHRQHDGWDUJHWHG6HQDWRU7KHDGVWDWHVLQSDUW
³Senator [1] can save our jobs in Ohio for Ohio . . . Senator [1], Ohio families need your help
before June 30... ask Senator [1] to pass HB 6 before summer break . . . more jobs, lower bills, for
Ohio´7KHFRPPHUFLDOHQGVZLWK³Paid for by Generation Now, Inc´
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VFULSW FRPSOHWH ZLWK UHGOLQLQJ DQG KLJKOLJKWV IRU D VHW RI FRPPHUFLDOV WDUJHWLQJ VHQDWRUV
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          7KH(QWHUSULVH¶VVWUDWHJ\IXQGHGE\&RPSDQ\$ZRUNHG7KH6HQDWHSDVVHG+%
DSSUR[LPDWHO\DPRQWKDQGKDOIDIWHULWZDVLQWURGXFHG7KH+RXVHZKLFKFRQFXUUHGLQWKH
6HQDWH¶VDPHQGPHQWVDGRSWHGWKH6HQDWH¶VYHUVLRQRI+%RQ-XO\,WZDVVLJQHGE\
WKHJRYHUQRUODWHUWKDWVDPHGD\ -XO\ 
         
          ,Q D SUHVV UHOHDVH WKH QH[W GD\ &RPSDQ\ $ VWDWHG WKDW LW ³applauded the
enactment of House Bill 6 into law, a monumental step in helping to avoid the premature closure
of the company’s two nuclear plants in Ohio´&RPSDQ\$&(2FRPPHQGHGWKHOHJLVODWXUHIRU
³drafting a bill that preserves the state's nuclear assets´DQGVWDWHGVSHFLILFDOO\WKDW&RPSDQ\$
ZDV³thankful for the support and commitment by Speaker Householder and Senate President
[Redacted].´
         
          $VH[SODLQHGLQGHWDLOEHORZDFDPSDLJQWRRYHUWXUQWKHOHJLVODWLRQWKURXJKDEDOORW
LQLWLDWLYH EHJDQ LPPHGLDWHO\ DIWHU SDVVDJH DQG FRQWLQXHG XQWLOWKH FDPSDLJQ WR RYHUWXUQ +% 
IDLOHG RQ 2FWREHU   DW ZKLFK SRLQW WKH EDLORXW OHJLVODWLRQ EHFDPH ODZ VDYLQJ WKH WZR
QXFOHDUSRZHUSODQWVIURPFORVXUH
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             YL 7KH(QWHUSULVHDQG&RPSDQ\$¶V&RRUGLQDWLRQ
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         (QWHUSULVHPHPEHUVDQGDVVRFLDWHVFRRUGLQDWHGZLWK&RPSDQ\$H[HFXWLYHVDQG
OREE\LVWVZKLOHLWZDVUHFHLYLQJPLOOLRQVRIVHFUHWGROODUVIURP&RPSDQ\$DQGSUHVVXULQJSXEOLF
RIILFLDOVWRVXSSRUWWKHEDLORXW

          $FFRUGLQJWRDUHYLHZRIWH[WPHVVDJHVDQGWROOUHFRUGV&HVSHGHVZDVLQUHJXODU
FRQWDFWZLWK&RPSDQ\$DQGVHUYHGDVDFRQGXLWEHWZHHQ&RPSDQ\$DQGRWKHUPHPEHUVDQG
DVVRFLDWHVRIWKH(QWHUSULVHZKLOHWKH(QWHUSULVHSXVKHGIRUSDVVDJHRI+%)RUH[DPSOHWKH
DIRUHPHQWLRQHGH[FKDQJHEHWZHHQ&HVSHGHVDQG/RQJVWUHWKZKHUHLQWKHFRQWH[WRISODQQLQJDQ
+%  WHDP PHHWLQJ &HVSHGHV WROG /RQJVWHWK ³Let’s just regroup and get the rest of the deal
done>@´LOOXVWUDWHVWKLVSRLQW7KHVHPHVVDJHVZKLFKZHUHSUHPLVHGRQWKH6SHDNHU¶V³rampage´
DOVRVKRZ+RXVHKROGHU¶VGLUHFWLQYROYHPHQWLQ&RPSDQ\$¶VDQG*HQHUDWLRQ1RZ¶VHIIRUWVWRJHW
WKH³the rest of the deal done´²VSHFLILFDOO\SDVVDJHRI+%
         
          /RQJVWUHWKDQG&HVSHGHVDOVRGLVFXVVHG*HQHUDWLRQ1RZPDLOHUVVXSSRUWLQJ+%
2Q-XQH&HVSHGHVWH[WHG³gen now mail is still dropping. We are getting reports that’s
[sic] it’s been hitting late,´WRZKLFK/RQJVWUHWKUHVSRQGHGWKDW³90% was delivered by the vote´
DQG³Members like seeing the mail because voters don’t know when the vote was´6HYHUDOGD\V
ODWHU&HVSHGHVWROG/RQJVWUHWK³Mail and radio looks good to me´7KHVHFRPPXQLFDWLRQVVKRZ
WKDW&RPSDQ\$²WKURXJK&HVSHGHV²ZDVLQYROYHGGLUHFWO\LQ*HQHUDWLRQ1RZ¶VPHGLDVWUDWHJ\
WRSURPRWHPHPEHUVXSSRUWRI+%
         
          ,QDGGLWLRQ/RQJVWUHWKDQG&HVSHGHVGLVFXVVHGFRRUGLQDWLQJ&RPSDQ\$SD\PHQWV
WR*HQHUDWLRQ1RZ2Q-XQH&HVSHGHVWH[WHGWR/RQJVWUHWK³Text me the # I need an
invoice for $2M´/RQJVWUHWKUHVSRQGHG³working on it now´2Q-XQH&HVSHGHVWH[WHG
³Make sure I get the invoice for this week as early as possible, please. Thanks´  /RQJVWUHWK


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UHVSRQGHG³Yeah, I’m thinking it will be lower this week. Probably 1.3 ish´&HVSGHGHVUHSOLHG
³Ok, thanks. I appreciate everything that you are doing. Let’s keeping pushing this group´
       
        2Q-XQH&HVSHGHVDQG/RQJVWUHWKKDGWKHIROORZLQJH[FKDQJH
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        7ZRGD\VODWHU&HVSHGHVIROORZHGXS
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Case: 1:20-cr-00077-TSB Doc #: 5 Filed: 07/21/20 Page: 60 of 82 PAGEID #: 690
    Case: 1:20-cr-00077-TSB Doc #: 5 Filed: 07/21/20 Page: 61 of 82 PAGEID #: 691


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          $IWHUIXUWKHUGLVFXVVLRQEHWZHHQ&HVSHGHVDQG/RQJVWUHWKLQWKHIROORZLQJGD\V
DERXW FRRUGLQDWLQJ SD\PHQW SXEOLF RIILFLDOV¶ VXSSRUW IRU WKH EDLORXW KLULQJ VLJQDWXUH ILUPV WR
GHIHDW WKH %DOORW &DPSDLJQ DQG PHGLD DQG PDLOHUV /RQJVWUHWK DQG &HVSHGHV DJDLQ GLVFXVVHG
&RPSDQ\ $ SD\PHQWV WR *HQHUDWLRQ 1RZ  )RU H[DPSOH RQ -XQH   &HVSHGHV WR
/RQJVWUHWK³I think we have to shave off the 33k, but I’ll check´DQG³Just confirmed to round
down to $16M even´
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         7KHFRPELQDWLRQRISKRQHUHFRUGVEDQNUHFRUGVDQGWH[WPHVVDJHVSDLQWDFOHDU
SLFWXUH RI WKH SDUWQHUVKLS EHWZHHQ WKH (QWHUSULVH DQG &RPSDQ\ $ LQ ZRUNLQJ WRZDUGV WKHLU
DJUHHPHQW,QGHHGNH\(QWHUSULVHPHPEHUVKDGUHJXODUDQGWLPHO\SKRQHFRQWDFWZLWK&RPSDQ\
$  H[HFXWLYHV DV +RXVHKROGHU ZDV WDNLQJ RIILFLDO DFWLRQ RQ &RPSDQ\ $¶V EHKDOI ZKLOH WKH
(QWHUSULVHUHFHLYHGPLOOLRQVIURP&RPSDQ\$)RUH[DPSOHWROOUHFRUGVVKRZWKDW+RXVHKROGHU
KDGSKRQHFRQWDFWVZLWK&RPSDQ\$&RUS¶V&(2IURP-DQXDU\WR-XO\²WKHSHULRG
IURPZKHQ+RXVHKROGHUEHFDPH6SHDNHUXQWLO+%ZDVLQWURGXFHGDQGVLJQHGLQWRODZ7KLV
LQFOXGHVDSKRQHFDOORQ-DQXDU\WKHGD\+RXVHKROGHUZDVHOHFWHG6SHDNHUDQGPXOWLSOH
OHQJWK\SKRQHFDOOVLQWKHZHHNVOHDGLQJXSWRLQWURGXFWLRQRI+%DQGVKRUWO\DIWHUSDVVDJHRI
WKHELOO,QGHHGRYHUWKHSHULRGIURP)HEUXDU\WR-XO\+RXVHKROGHUKDGSKRQH
FRQWDFWVZLWKWKH&RPSDQ\$&RUS¶V&(2SKRQHFRQWDFWVZLWK&RPSDQ\$6HUYLFH&R¶V93
RI ([WHUQDO$IIDLUV DQG  FRQWDFWV ZLWK&RPSDQ\$&RUS¶V2KLR'LUHFWRURI6WDWH$IIDLUV
6LPLODUO\/RQJVWUHWKKDGWLPHO\SKRQHFRQWDFWLQWKHILUVWKDOIRIZLWK&RPSDQ\$6HUYLFH
&R¶V93RI([WHUQDO$IIDLUVDQG&RPSDQ\$¶V93RI*RYHUQPHQW$IIDLUV/RQJVWUHWK¶VFRQWDFW
ZLWK &RPSDQ\ $ H[FHHGHG HYHQ +RXVHKROGHU¶V RYHU WKH FRXUVH RI WKH FRQVSLUDF\ WR LQFOXGH
VLJQLILFDQWSKRQHFRQWDFWVZLWK&RPSDQ\$H[HFXWLYHVGXULQJWKHSHULRGIURP)HEUXDU\WR
2FWREHU

         &ODUN GHVFULEHG +RXVHKROGHU¶V FRUUXSW DUUDQJHPHQW ZLWK &RPSDQ\ $ GXULQJ D
UHFRUGHGPHHWLQJLQ-XQH&ODUNILUVWGHVFULEHGKRZDQRWKHU2KLRSXEOLFRIILFLDOUHFHLYHG
PRQH\ IURP &RPSDQ\ $ LQWR WKDW SXEOLF RIILFLDO¶V  F   EXW GLG QRW FRPH WKURXJK IRU
&RPSDQ\$ZKHQWKH\QHHGHGKHOSSDVVLQJ+%&ODUNVWDWHGZKHQWKDWSXEOLFRIILFLDO³knew
that Larry did not have his votes, ran away from him´&ODUNWKHQVWDWHGWKDW+RXVHKROGHURQWKH
RWKHUKDQGWRRNPLOOLRQVIURP&RPSDQ\$³but he went to war for them´&ODUNFRQFOXGHGWKDW
KHZDQWHGWREHDURXQGSROLWLFLDQVOLNH+RXVHKROGHUZKR³will go to the wall, but those guys that
go to the wall can only do it once a year because if they do it all the time everybody knows they’re
pay to play´&ODUNH[SODLQHGWKDWWKHZD\SROLWLFLDQVJHWH[SRVHGIRU³SD\WRSOD\´LVWKURXJK
³VWXSLGLW\´RU³SHRSOHZKRJHWDJJULHYHGOHDNLW´

          +RXVHKROGHU DGPLWWHG KLV RIILFLDO DFWLRQ IRU WKH EHQHILW RI &RPSDQ\ $ LQ WH[W
PHVVDJHVZLWK/RQJVWUHWK,QD-XQHH[FKDQJH/RQJVWUHWKWROG+RXVHKROGHUWKDWRQHRI
WKH ³biggest issues we’ve heard from the Senate´ ZDV ³Does [Company A-1] really need the
money"´+RXVHKROGHUUHVSRQGHGIRUWKH&RPSDQ\$³VXEVLG\´³we only put in what they
need´²VKRZLQJ +RXVHKROGHU DQG WKH (QWHUSULVH GUDIWHG WKH ELOO IRU &RPSDQ\ $¶V EHQHILW DQG
ZLWK &RPSDQ\ $¶V VSHFLILF LQWHUHVWV LQ PLQG  6LPLODUO\ LQ D -XQH   H[FKDQJH DIWHU
/RQJVWUHWK UHIHUHQFHG WKH SRWHQWLDO EDOORW UHIHUHQGXP WKDW FRXOG RYHUWXUQ +%  +RXVHKROGHU
VWDWHG ³Stay on the good side of [Company A-1] and we’ll do the defend´ RI WKH UHIHUHQGXP
H[DFWO\ZKDWWKH(QWHUSULVHGLG

        %HFDXVH &RPSDQ\ $ DSSHDUHG WR SURYLGH ZKDWHYHU WKH (QWHUSULVH QHHGHG WR
DFKLHYHLWVJRDOVWKH(QWHUSULVHPHPEHUVUHIHUUHGWR&RPSDQ\$DVWKHLU³%DQN´IRUWKHEHQHILW

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   7KHVHWROOUHFRUGVOLNHO\XQGHUUHSUHVHQWWKHWRWDOYROXPHRISKRQHFRQWDFWVEHWZHHQWKH(QWHUSULVHDQG&RPSDQ\$
EHFDXVHPHVVDJHVIURPL3KRQHWRL3KRQHDUHQRWFDSWXUHGLQWROOUHFRUGVGXHWRHQGWRHQGHQFU\SWLRQ)RUH[DPSOH
PRVWWH[WPHVVDJHVEHWZHHQ&HVSHGHVDQG/RQJVWUHWKWKHFRQWHQWRIZKLFKDUHFDSWXUHGLQVHDUFKZDUUDQWUHWXUQV
DUHQRWFRQWDLQHGLQWROOUHFRUGVEHFDXVHWKH\DUHERWKL3KRQHXVHUV
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RIWKH(QWHUSULVH$V&ODUNVWDWHGLQDUHFRUGHGFRQYHUVDWLRQLQ-XO\³We call Company
A ‘the Bank’ because they can do, they can do, they can fund these things for 20 years if they want
to. . . . They’ve got too much money, too much power´/DWHULQWKHFRQYHUVDWLRQ&ODUNGLVFXVVHG
WKHLQGLYLGXDOVJLYLQJDWRFKHFNWR+RXVHKROGHU¶V F  UHODWLYHWRRWKHU
FRQWULEXWLRQVLQWR*HQHUDWLRQ1RZVSHFLILFDOO\SD\PHQWVE\&RPSDQ\$&ODUNVWDWHG³you’ll
walk in with your check and you’ll be respectful, and they’ll remember it as that number.
Remember, he gets checks from ‘the Bank’; remember, I told you what the ‘the Bank’ is, you know,
$1.5 million dollars, $2 million dollars´
          
           ,QGHHG DFFRUGLQJ WR &ODUN WKH DPRXQW RI PRQH\ IURP &RPSDQ\ $ WR WKH
(QWHUSULVH ZDV ³unlimited´  $V KH ODWHU H[SODLQHG ³on HB 6, Company got $1.3 billion in
subsidies, free payments, . . . so what do they care about putting in $20 million a year for this
thing, they don’t give a shit´&ODUNZHQWRQ³[Company A] is deep pockets&ODUNH[SODLQHGI
did this campaign.All we cared about was getting the subsidy´,QRWKHUZRUGV&RPSDQ\$SDLG
WKH(QWHUSULVHPLOOLRQVRIGROODUVLQH[FKDQJHIRUWKH(QWHUSULVH¶VHIIRUWVWRSDVV+%EHFDXVHLW
UHFHLYHG³$1.3 billion in subsidies´LQUHWXUQ²WKHHVVHQFHRIWKHFRUUXSWH[FKDQJH
              
     ,,, 7KH(QWHUSULVH)LJKWVWKH%DOORW&DPSDLJQWR(QVXUH+%*RHV,QWR(IIHFW
          
           ,PPHGLDWHO\DIWHUSDVVDJHRI+%³%DOORW&DPSDLJQ´PRELOL]HGWRUHSHDO+%
WKURXJKDEDOORWUHIHUHQGXP8QGHU2KLRODZLQRUGHUWRSODFHDUHIHUHQGXPRQWKHEDOORWDJURXS
PXVWFROOHFWFHUWLILHGVLJQDWXUHVDQGVXEPLWSURSRVHGEDOORWODQJXDJHWRWKH2KLR$WWRUQH\
*HQHUDOIRUDSSURYDO7KHDSSURYDOHQVXUHVWKDWWKHGHVFULSWLRQRIWKHUHIHUHQGXPPHHWVWKH
³IDLUDQGWUXWKIXO´VWDQGDUGRXWOLQHGLQWKH2KLR5HYLVHG&RGH
          
           $IWHUWKH2KLR$WWRUQH\*HQHUDODSSURYHVWKHODQJXDJHDQGWKH2KLR6HFUHWDU\RI
6WDWH FHUWLILHV WKH VLJQDWXUHV FROOHFWHG WKH SURSRQHQWV RI WKH EDOORW UHIHUHQGXP PXVW FROOHFW
VLJQDWXUHV IURP UHJLVWHUHG YRWHUV WRWDOLQJ VL[ SHUFHQW RI WKH YRWHUV ZKR SDUWLFLSDWHG LQ WKH ODVW
JXEHUQDWRULDOHOHFWLRQ,QWKLVFDVHVL[SHUFHQWHTXDOVDSSUR[LPDWHO\VLJQDWXUHV7KRVH
VLJQDWXUHV DOVR PXVW EH YDOLGDWHG E\ WKH 2KLR 6HFUHWDU\ RI 6WDWH  ,I WKH UHTXLVLWH QXPEHU RI
VLJQDWXUHVDUHFROOHFWHGDQGYDOLGDWHGWKHUHIHUHQGXPDSSHDUVRQWKHEDOORWIRUDSRSXODUYRWHE\
WKHUHVLGHQWVRI2KLR
            
    $ 7KH(QWHUSULVH)LJKWV%DFN
        
         %DOORW &DPSDLJQ¶V RULJLQDO EDOORW SURSRVDO ODQJXDJH ZDV VXEPLWWHG RQ -XO\ 
DQGUHMHFWHGE\WKH2KLR$WWRUQH\*HQHUDORQ$XJXVW$UHYLVHGSHWLWLRQZDVILOHG
RQ$XJXVWDQGVXEVHTXHQWO\DSSURYHGE\WKH2KLR$WWRUQH\*HQHUDORQ$XJXVW
$IWHUDSSURYDOWKH%DOORW&DPSDLJQKDGXQWLO2FWREHUWRFROOHFWWKHUHTXLVLWHQXPEHURI
VLJQDWXUHV
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          (YHQ EHIRUH WKH *RYHUQRU VLJQHG +%  LQWR ODZ DQG WKH %DOORW &DPSDLJQ
RUJDQL]HGWKH(QWHUSULVHZDVPRELOL]LQJWRGHIHDWDEDOORWLQLWLDWLYHLQ-XQH2Q-XQH
 &HVSHGHV ZURWH WR /RQJVWUHWK ³Borges mentioned this morning that the opposition has
engaged signature gatherers. Not sure who or if it’s real. Just want u to be aware´/RQJVWUHWK
UHVSRQGHG³7KDQNVIRUOHWWLQJPHNQRZ´7KHQRQ-XQH&HVSHGHVZURWH/RQJVWUHWK
³Let’s just get all of the signature firms hired tomorrow´/RQJVWUHWKUHVSRQGHG³We can hire the
good ones. We can’t hire them all´7RZKLFK&HVSHGHVUHSOLHG³Yeah, let’s get all the good
ones?If I need to up the budget, I will´&HVSHGHVODWHUWH[WHGKLVLQWHQWZLWKUHJDUGVWRWKHEDOORW
LQLWLDWLYH³I was hoping that we could take out all the big players and limit their chances. It’s
impossible to referendum proof imo. We can make it tougher´7KLVVKRZV&RPSDQ\$DFWLYHO\
ZRUNLQJZLWKWKH(QWHUSULVHWRSUHVHUYHWKH+%EDLORXW
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          %XW WKH LQYHVWLJDWLRQ LQGLFDWHV WKDW WKH (QWHUSULVH ZDV FRQFHUQHG WKDW D EDOORW
LQLWLDWLYHZRXOGEORFN+%IURPWDNLQJHIIHFW)RUH[DPSOHRQ-XO\WKHGD\EHIRUHWKH
ELOOSDVVHGWKH6HQDWH&ODUNGLVFXVVHGDSRWHQWLDOUHIHUHQGXPGXULQJDUHFRUGHGFRQYHUVDWLRQ
+HH[SODLQHGWKDWLWZRXOG³piss off the Speaker´DQGLIWKHRSSRVLWLRQVXFFHHGHGLQJHWWLQJLWRQ
WKHEDOORWLQWKHELOOZRXOGEH³VWD\HG´XQWLOWKHQ&ODUNIXUWKHUH[SODLQHGWKDWKHZDVLQ
FKDUJHRIWKHHIIRUWWRNLOOWKHVLJQDWXUHFROOHFWLRQHIIRUWIRUWKH6SHDNHUDQGHVWLPDWHGWKDWLWKDG
DVXFFHVVUDWH
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     % *HQHUDWLRQ1RZ7DNHV+HDWLQWKH0HGLDIRU)XQGLQJ+%$GV
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          $WWKHVDPHWLPHGLVFXVVLRQRIDEDOORWLQLWLDWLYHZDVUDPSLQJXSWKHPHGLDZDV
UHSRUWLQJWKDW*HQHUDWLRQ1RZZDVWKHVRXUFHRIGDUNPRQH\EHKLQGWKHSDVVDJHRI+%7KH
&LQFLQQDWL(QTXLUHUDQG'D\WRQ'DLO\1HZVUHSRUWHGWKDWPLOOLRQVRIGROODUVLQGDUNPRQH\IURP
*HQHUDWLRQ1RZIORRGHGWKHDLUZD\VZLWKWHOHYLVLRQDQGUDGLRDGVVXSSRUWLQJ+%$OWKRXJK
VRPH DUWLFOHV WLHG *HQHUDWLRQ 1RZ WR -HII /RQJVWUHWK QRQH PDGH WKH OLQN WR +RXVHKROGHU RU
XQGHUVWRRGWKDW&RPSDQ\$ZDVIXQGLQJ*HQHUDWLRQ1RZ,QIDFWWKHQHZVUHSRUWVDWWKDWWLPH
DWWULEXWHG&RPSDQ\$DVIXQGLQJDQDOOLDQFHZKLFKKDGVSHQWDERXWRQ+%DGV,Q
ZKDWDSSHDUVWREHDQHIIRUWWRGHIOHFWDWWHQWLRQ+RXVHKROGHUZDVTXRWHGLQWKHPHGLDDVVD\LQJ
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                        It's a priority bill for me because I've always cared about
                        the energy in the state of Ohio. I'll tell you who's paying for these
                        ads: it's working men and women from Ohio, who want to save their
                        jobs and it's Ohio corporations, headquartered in Ohio, that want
                        to stay here. That's who's paying for it
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       +RXVHKROGHU ZDV DOVR UHFHLYLQJ SUHVVXUH IURP +RXVH PHPEHUV DERXW KLV XVH RI
*HQHUDWLRQ1RZWRIXUWKHU+%DV+RXVHKROGHUWROG/RQJVWUHWKLQDWH[WH[FKDQJH



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Case: 1:20-cr-00077-TSB Doc #: 5 Filed: 07/21/20 Page: 67 of 82 PAGEID #: 697
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&RPSDQ\$WKURXJK*HQHUDWLRQ1RZ,QRWKHUZRUGVWKH(QWHUSULVHIXQQHOHG&RPSDQ\$PRQH\
WKURXJKWKUHHGLIIHUHQW(QWHUSULVHFRQWUROOHGDFFRXQWVEHIRUHSXUFKDVLQJWKHIOLHUVWKURXJKWKLUG
SDUWLHV7KHHIIRUWVPDGHE\(QWHUSULVHPHPEHUVLQWKLVUHJDUGDUHIXUWKHUHYLGHQFHRIWKHLULQWHQW
DQGWKHFRUUXSWH[FKDQJHZLWK&RPSDQ\$
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         *HQHUDWLRQ1RZPRQH\DOVRIXQGHGWHOHYLVLRQFRPPHUFLDOVSXUSRUWHGO\VSRQVRUHG
E\)URQW&RPSDQ\ZKLFKFRQWLQXHGWKHVDPHWKHPHIURPWKHIOLHUV7KHVHDGVDVVHUWHGWKDW&KLQD
ZDVWDNLQJRYHU2KLR¶VHQHUJ\LJQLWLQJIHDUWKDWWKH&KLQHVHJRYHUQPHQWLVEHKLQGWKHGULYHWR
UHSHDO +%  DQG ZDQWLQJ WR WDNH 2KLR HQHUJ\ MREV 7KH DGV SURSRVLWLRQ 2KLRDQV WR FKRRVH
EHWZHHQVXSSRUWLQJ+%RUKDQGLQJRYHU2KLR¶VHQHUJ\WRWKH&KLQHVH*RYHUQPHQW
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            )RUH[DPSOHRQHDGDLUHGLQ&LQFLQQDWLFODLPHG
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                   They took our manufacturing jobs. They shuttered our factories.
                   Now they are coming for our energy jobs. The Chinese government
                   is quietly invading the American electric grid, intertwining them
                   financially in our energy infrastructure. Now a special interest
                   group boosting Chinese financial interests is targeting Ohio energy,
                   taking Ohio money, exporting Ohio jobs, even risking our national
                   security. They are meddling in our elections. In the coming weeks
                   you may be approached on the street or at your door to sign a
                   petition to defund U.S. jobs and energy. They will ask for your name,
                   your address, your signature. Tell them no. Don’t sign your name
                   to a plan that kills Ohio jobs, harms Ohio communities, and
                   endangers our energy independence. China turned off the power on
                   Ohio manufacturing. Don’t let them do it to you. Don’t sign the
                   petition allowing China to control Ohio’s power
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'XULQJWKHFRPPHUFLDOLPDJHVRIWKH&KLQHVHJRYHUQPHQWDQGOHDGHUVKLSZHUHGLVSOD\HG
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JULG


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7KHDGHQGHGZLWKDSOHDWRQRWVLJQWKHSHWLWLRQEHFDXVHGRLQJVRZRXOGDOORZ&KLQDWRWDNH
FRQWURORYHU2KLR¶VSRZHU
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          7KXVDOWKRXJKWKHIOLHUVDQGDGVFODLPHGWKH\ZHUHSDLGIRUE\)URQW&RPSDQ\LQ
UHDOLW\WKH(QWHUSULVHSDLGIRUWKHPDQGFRQFHDOHGWKDWIDFWE\ZLULQJPRQH\IURP*HQHUDWLRQ
1RZWR)URQW&RPSDQ\%\XVLQJ)URQW&RPSDQ\IRUWKHPHGLDFDPSDLJQWKH(QWHUSULVHIXUWKHU
FRQFHDOHGLWVFRUUXSWDUUDQJHPHQWZLWK&RPSDQ\$
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          2WKHUHYLGHQFHGHPRQVWUDWHVWKDWWKH(QWHUSULVHXVHG)URQW&RPSDQ\DVDIURQWIRU
*HQHUDWLRQ1RZ)RUH[DPSOHSXEOLFILOLQJVRQWKH)&&ZHEVLWHVKRZWKDW0HGLD3ODFHPHQW
&RPSDQ\  ZKLFK UHFHLYHG DSSUR[LPDWHO\  PLOOLRQ IURP )URQW &RPSDQ\ EDQN DFFRXQW
ERXJKWWHOHYLVLRQDLUWLPHEHWZHHQ$XJXVWDQG2FWREHUDFURVV2KLRIRU)URQW&RPSDQ\
)RULQVWDQFHIRUWKHZHHNRI6HSWHPEHUWR6HSWHPEHUUHFRUGVVKRZWKDW0HGLD
3ODFHPHQW&RPSDQ\ERXJKWDSSUR[LPDWHO\LQWHOHYLVLRQVSRWVIURP:.5&&LQFLQQDWL
IRU)URQW&RPSDQ\ 0HGLD3ODFHPHQW&RPSDQ\KDGSXUFKDVHGDLUWLPHVORWVIRU*HQHUDWLRQ
1RZLQWKHSDVWLQFOXGLQJDGYHUWLVHPHQWVWKDWVXSSRUWHGFDQGLGDWHVDVVRFLDWHGZLWK+RXVHKROGHU
GXULQJWKHHOHFWLRQF\FOH 
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          7KH)&&ILOLQJVDOVRPDWFKWKHFRPPHUFLDOV¶FRQWHQW,QRQHGLVFORVXUHVWDWHPHQW
WKDWZDVILOHGZLWKWKH)&&)URQW&RPSDQ\VWDWHGWKDWWKHLVVXHDGGUHVVHGE\WKHDGYHUWLVHPHQWV
ZDV³&KLQHVHLQIOXHQFHRI2KLR(QHUJ\´7KLVGHVFULSWLRQWLHV ERWKWKHIOLHUVDQGFRPPHUFLDO
FRQWHQWEDFNWR)URQW&RPSDQ\$GGLWLRQDOO\WKHFRQWHQWRIWKHFRPPHUFLDOVWKHPVHOYHVFRQWDLQ
DFOXHDVWRWKHLURULJLQDQGIXQGLQJVRXUFHW\LQJWKH(QWHUSULVHWR)URQW&RPSDQ\6SHFLILFDOO\
00SLFWXUHGEHORZZKRVHUYHGDVSURMHFWPDQDJHUDWRQHRIWKH&RPSDQ\$QXFOHDUSRZHU
SODQWVDSSHDUHGERWKLQ*HQHUDWLRQ1RZDGYHUWLVHPHQWVLQVXSSRUWRIWKHSDVVDJHRI+%LQWKH

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KH KDG ³hired them not to work´ &ODUN FRQWLQXHG H[SODLQLQJ WKDW KH KDG KLUHG  FRPSDQLHV
QDWLRQZLGH²QLQHRIWKHELJJHVWRQHV²DQGVHQWWKHPDOOFKHFNVUDQJLQJWRWR
QRWWRZRUNDQGSD\PHQWVWRWKHVPDOOHUILUPV&ODUNVWDWHGWKDWWKHVHSHRSOHRQWKH
SKRQH³they are all full of shit. I have been a lobbyist for 39 years, been around a long time. It
always goes circular to someone going well we’ll give you a kickback´&ODUNODWHUFRQILUPHG
GXULQJ WKH VDPH FRQYHUVDWLRQ WKDW WKH  XVHG WR SD\ WKH FROOHFWLRQ ILUPV FDPH IURP
*HQHUDWLRQ1RZ

         $VSUHDGVKHHWWUDFNLQJWKHKLULQJDQGSD\PHQWRIVLJQDWXUHILUPVLQ-XO\ZDV
UHFRYHUHGIURP&HVSHGHV¶SRVVHVVLRQ7KHGRFXPHQW¶VSURSHUWLHVUHYHDOWKDW$VVRFLDWHFUHDWHG
WKHVSUHDGVKHHWRQ-XO\²WZRGD\VDIWHU&ODUN¶VVWDWHPHQWVGHWDLOHGGLUHFWO\DERYH 7KDW
LW ZDV UHFRYHUHG IURP &HVSHGHV¶ SRVVHVVLRQ GHPRQVWUDWHV WKH FORVH FRRUGLQDWLRQ EHWZHHQ
PHPEHUVDQGDVVRFLDWHVRIWKH(QWHUSULVHDQG&RPSDQ\$ 7KHGRFXPHQWVKRZVWKHVLJQDWXUH
ILUPVWKDWWKH(QWHUSULVHUHWDLQHGZKHWKHUWKHILUPVDUHXQGHUFRQWUDFWWKHFRQWUDFWSULFHDQGWKH
VWDWXVRISD\PHQWVZKLFKUHIOHFWHGSD\PHQWVRIE\-XO\

          $UHYLHZRI*HQHUDWLRQ1RZ¶VVXESRHQDHGEDQNUHFRUGVDQG&ODUN¶VWROOUHFRUGV
FRUURERUDWH KLV VWDWHPHQWV DQG WKH FRQWHQWV RI WKH VSUHDGVKHHW  *HQHUDWLRQ 1RZ EDQN UHFRUGV
FRQILUPWKDWSD\PHQWVZHUHPDGHIURPWKH*HQHUDWLRQ1RZEDQNDFFRXQWV7KHUHFRUGVIXUWKHU
VKRZWKDWVRPHRIWKHVHILUPVDORQJZLWKRWKHUSHWLWLRQILUPVUHFHLYHGDGGLWLRQDOSD\PHQWVLQWKH
IDOORI

        )XUWKHU&ODUN¶VWROOUHFRUGVVKRZFRQWDFWZLWKVRPHRIWKHVHILUPVDURXQGWKHVDPH
WLPHSHULRG)RUH[DPSOHRQ-XO\WKHVDPHGD\WKDW*HQHUDWLRQ1RZZLUHGRQHILUP
&ODUN¶VWROOUHFRUGVVKRZKHKDGPXOWLSOHFRQWDFWVZLWKDIRXQGLQJPHPEHURIWKHILUP
6LPLODUO\&ODUNSODFHGFDOOVWRDQH[HFXWLYHRI3HWLWLRQHU6LJQDWXUH6HUYLFHV&RRQ-XO\DQG
LQFORVHSUR[LPLW\WR*HQHUDWLRQ1RZ¶VZLUHRI

         7KHVHZLUHVDOVRDUHFRQVLVWHQWZLWKWH[WPHVVDJHH[FKDQJHVUHFRYHUHGGXULQJWKH
LQYHVWLJDWLRQ2Q-XQHZKLOH+%ZDVVWLOOSHQGLQJLQWKH2KLR6HQDWH&HVSHGHVWROG
/RQJVWUHWKWKDW³Borges mentioned this morning that opposition has engaged signature gathers.
Not sure who or if it’s real. Just want you to be aware.´$VH[SODLQHGDERYHDERXWDZHHNODWHU
RQ-XQHZKLOH+%ZDVVWLOOSHQGLQJLQWKH6HQDWH&HVSHGHVDQG/RQJVWUHWKGLVFXVVHG
WKHQHHGWRKLUHVLJQDWXUHILUPVDQGWKDW&HVSHGHVZRXOG³XS´WKHEXGJHWLIQHFHVVDU\




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  3HWLWLRQ6LJQDWXUH6HUYLFHV&RUHFHLYHGDSSUR[LPDWHO\IURP*HQHUDWLRQ1RZEHWZHHQ-XO\DQG
2FWREHU3KRQHUHFRUGVDOVRVKRZ-HII/RQJVWUHWKKDGSKRQHFRQWDFWZLWKWKHVDPHH[HFXWLYHGXULQJWKHVDPH
WLPHSHULRG

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$VWKLVFRQYHUVDWLRQVKRZVXQWLOWKHSUHYLRXVZHHNWKH(QWHUSULVHFRXOGQRWGHWHUPLQHWKHUHDVRQ
IRUWKHGLVFUHSDQF\EHWZHHQWKHLUQXPEHUVDQGWKHQXPEHUVFODLPHGE\WKHVLJQDWXUHJDWKHUHUV
7KXVWKH\QHHGHGLQVLGHLQIRUPDWLRQDERXWWKHEDOORWLQLWLDWLYH
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          7KH(QWHUSULVHDWWHPSWHGWRREWDLQVXFKLQIRUPDWLRQE\XWLOL]LQJ%RUJHVWREULEH
&+6ZKRZDVDVVRFLDWHGZLWKWKH%DOORW&DPSDLJQ&+6ZDVHPSOR\HGE\%DOORW&DPSDLJQ
LQLWVHIIRUWVWRUHSHDO+%WKURXJKDEDOORWLQLWLDWLYH&+6KDVSURYLGHGUHOLDEOHLQIRUPDWLRQ
SURYHQFUHGLEOHWKURXJK PXOWLSOHVRXUFHV&+6PDQDJHGVLJQDWXUHFROOHFWRUV$VGHVFULEHG
EHORZ %RUJHV RIIHUHG WR DQG GLG SD\ &+6  WR SURYLGH LQVLGH LQIRUPDWLRQ DERXW WKH %DOORW
&DPSDLJQVXFKDVWKHQXPEHURIVLJQDWXUHVFROOHFWHGWKHQXPEHURIFROOHFWRUVDQGJHRJUDSKLF
IRFXVRIFROOHFWLRQHIIRUWV&+6ZDVXSVHWDERXW%RUJHV¶VROLFLWDWLRQDQGFRQWDFWHGWKH)%,DIWHU
PHHWLQJ ZLWK %RUJHV LQ HDUO\ 6HSWHPEHU  7KHUHDIWHU &+6  UHFRUGHG KLV FRQYHUVDWLRQV ZLWK
%RUJHVLQFOXGLQJ%RUJHV¶SD\PHQWRIWRKLP
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          2QRUDERXW6HSWHPEHU%RUJHVFRQWDFWHG&+6DQGGXULQJDPHHWLQJWKH
QH[WGD\RIIHUHGDVXEVWDQWLDODPRXQWRIPRQH\IRULQVLGHLQIRUPDWLRQWKDW%RUJHVZRXOGXVHIRU
KLVFOLHQWWRGHIHDWWKHUHIHUHQGXPFDPSDLJQ6SHFLILFDOO\DFFRUGLQJWR&+6%RUJHVRIIHUHG
WKDWLI&+6SURYLGHGLQVLGHLQIRUPDWLRQ%RUJHVZRXOGSURYLGH&+6ZLWKPRQHWDU\SD\PHQWV
DMRERUDJUHHWRSD\&+6¶VGHEWV%RUJHVIXUWKHULQGLFDWHGWKDWRWKHUVDUHJHWWLQJ³IDW´RIIWKH
+%LVVXHVRWKH\PLJKWDVZHOOEHQHILWWRR7KHQ%RUJHVDVNHG&+6WRWKLQNDERXWWKHRIIHU
DQGJHWEDFNWRKLP%RUJHVLQLWLDOO\UHDFKHGRXWWR&+6MXVWWZRGD\VDIWHUWKH2KLR$WWRUQH\
*HQHUDODSSURYHGWKHEDOORWODQJXDJHDQGMXVWZHHNVDIWHU*HQHUDWLRQ1RZZLUHGRYHUDPLOOLRQ
GROODUVRI&RPSDQ\$PRQH\WR%RUJHV¶//&&RQVXOWLQJ
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          ,QDWH[WPHVVDJHIROORZLQJWKHPHHWLQJ&+6WROG%RUJHVKHFRXOGQRWDFFHSW
WKHEULEHSD\PHQW7KHVHWH[WPHVVDJHVZHUHSURYLGHGWRPH6SHFLILFDOO\&+6WROG%RUJHV
³I’ve thought about it. I don’t need overnight´&+6ZHQWRQ³At the beginning of this I thought
I could walk my information into Larry’s office and sell it for enough to retire on.¶´  &+6 
FRQWLQXHGKH³would LOVE to have those wiped out, to be debt free, and not to have to worry…
but, I can’t put a price tag on my integrity or my word´&+6H[SODLQHGWKDWKHFRXOGQRW³sell
this team down the river´FRQFOXGLQJ³So. It may not land me in the car, house, job, or financial
situation I want to be in – but I couldn’t face myself if I did anything but work for this and do it
honestly´%RUJHVUHVSRQGHGWKDWKHXQGHUVWRRGEXWPDGHFOHDUKLVLQWHQW³No matter what –
don’t ever tell anyone about our conversation from earlier´
         
          $WWKHGLUHFWLRQRIWKH)%,&+6UHFRQQHFWHGZLWK%RUJHVDQGH[SUHVVHGLQWHUHVW
LQ%RUJHV¶RIIHU'XULQJWHOHSKRQLFFRQWDFWEHWZHHQWKHWZR%RUJHVDGYLVHG&+6WKDWKHZRXOG
QHHGWRHYDOXDWHKRZWRPRYHIRUZDUG%RUJHVIROORZHGXSDVNLQJIRU&+6¶VHPSOR\PHQWFRQWUDFW
DQGVWDWLQJ³I’ll make an offer to buy you out. It will be substantial´2SHUDWLQJDWWKHGLUHFWLRQ
RIDJHQWV&+6UHVSRQGHG³What will a buyout entail? Like. . . what would I be doing, work-
wise?” %RUJHVUHVSRQGHGVLPSO\, “Give me a day or two to figure this out.” %RUJHVWKHQVWDUWHG
VROLFLWLQJ &+6  IRU LQVLGH LQIRUPDWLRQ DERXW %DOORW &DPSDLJQ  )RU H[DPSOH %RUJHV WH[WHG
³Have you guys started door to door"´%RUJHVDQG&+6WKHQKDGWKHIROORZLQJH[FKDQJH




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         2Q6HSWHPEHUGXULQJDFRQVHQVXDOO\UHFRUGHGPHHWLQJ%RUJHVJDYH&+6
DFKHFNIXQGHGHQWLUHO\E\&RPSDQ\$WR*HQHUDWLRQ1RZPRQH\$OWKRXJKLQLQLWLDO
FRQYHUVDWLRQV %RUJHV KDG LQGLFDWHG WKDW WKH PRQH\ ZDV DQ DGYDQFH IRU LQVLGHU LQIRUPDWLRQ WR
GHIHDW%DOORW&DPSDLJQZKHQ%RUJHVKDQGHGWKHFKHFNWR&+6KHVDLGWKDWLWZDV%RUJHV¶V
RZQ PRQH\ WKDW QR RQH NQHZ DERXW WKH WUDQVDFWLRQ DQG WKDW LW ZDV IRU WKH &+6 ¶V KHOS LQ
SODQQLQJDUHXQLRQDPRQJVWIRUPHUVWDIIHUV7KLVFRQWUDGLFWHGZKDW%RUJHVKDGSUHYLRXVO\VWDWHG
6KRZLQJKLVFRUUXSWLQWHQW%RUJHVDOVRWROGWKH&+6WKDWLIWKLVWUDQVDFWLRQFDPHWROLJKWLWZRXOG
EHEDGIRUERWK&+6DQG%RUJHV²LQIDFW%RUJHVWROG&+6KHZRXOG³EORZXS´WKH&+6¶V
KRXVHLIWKHLQIRUPDWLRQJRWRXWDWKUHDWWKDW&+6WUHDWHGDVDMRNH%RUJHVWKHQSURFHHGHGWR
DVN&+6DERXWWKHQXPEHURIVLJQDWXUHFROOHFWRUVZRUNLQJRQEHKDOIRIWKHEDOORWFDPSDLJQ
%RUJHVDOVRPDGHQXPHURXVVWDWHPHQWVDERXWWKH(QWHUSULVHLQFOXGLQJLGHQWLI\LQJ+RXVHKROGHU
&ODUN DQG /RQJVWUHWK DV EHLQJ LQYROYHG  )RU H[DPSOH %RUJHV VWDWHG ³Larry was putting the
squeeze´RQ$VVRFLDWH*HQHUDWLRQ1RZ¶VVSRNHVSHUVRQDQGZRXOGQRWDOORZ$VVRFLDWHWR
TXLW&ODUNZDVVHUYLQJDV+RXVHKROGHU¶VSUR[\DQGWKDWLWZDV³insane´KRZPXFK(QWHUSULVH
PHPEHUV ZHUH PDNLQJ RII &RPSDQ\ $  %RUJHV DOVR GHVFULEHG EHLQJ SUHVHQW ZKHQ (QWHUSULVH
PHPEHUVPHWZLWK&RPSDQ\$H[HFXWLYHVWRORRNDWDGYHUWLVHPHQWVDQGGULYLQJWKH&RPSDQ\$
&(2WRVHHVLJQDWXUHFROOHFWRUVZKRZHUHZRUNLQJRQEHKDOIRIWKH%DOORW&DPSDLJQ
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SKRQHFDOOVDQGWH[WPHVVDJHVWR&+6WRUHFHLYHWKHVDPHW\SHRILQVLGHULQIRUPDWLRQUHODWLQJWR
VLJQDWXUHFROOHFWLRQWRUHSHDO+%WKDW%RUJHVRIIHUHGSD\PHQWIRUGXULQJWKHLUFRQYHUVDWLRQRQ
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$WR*HQHUDWLRQ1RZPRQH\%RUJHVQHYHUDJDLQPHQWLRQHG&+6SHUIRUPLQJDQ\VSHFLILFZRUN
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          2WKHU HYLGHQFH FRUURERUDWHV WKDW %RUJHV¶ DFWLRQV ZHUH LQ IXUWKHUDQFH RI WKH
(QWHUSULVH¶VHIIRUWVWRGHIHDWWKH%DOORW&DPSDLJQ6LJQLILFDQWO\DURXQGWKHVDPHWLPHWKDW%RUJHV
ZDVLQFRQWDFWZLWKWKH&+6%RUJHVZDVLQFRQWDFWZLWK&HVSHGHV6SHFLILFDOO\RQ6HSWHPEHU
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DSSUR[LPDWHO\PLQXWHV/HVVWKDQWHQPLQXWHVDIWHUWKDWFDOO%RUJHVFDOOHG&+6DQGVSRNH
WRWKH&+6IRUQLQHPLQXWHV:LWKLQRQHPLQXWHRIWKHFRPSOHWLRQRIWKHFDOOZLWK&+6%RUJHV
DWWHPSWHGWRFDOO&HVSHGHVZKRGLGQRWDQVZHU7KH\HYHQWXDOO\FRQQHFWHGPLQXWHVODWHUDQG
WROO UHFRUGV VKRZ WKH FDOO ODVWHG IRU  PLQXWHV DQG  VHFRQGV  :LWKLQ RQH PLQXWH RI WKH


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FRPSOHWLRQRIWKDWFDOO%RUJHVWKHQFDOOHG$VVRFLDWHRI)URQW&RPSDQ\7ROOUHFRUGVDOVR
VKRZWKDW%RUJHVZDVLQUHJXODUFRQWDFWZLWK&ODUN/RQJVWUHWKDQG&HSHGHVGXULQJWKLVSHULRG

         0RUHRYHUDVVHWIRUWKDERYHEDQNUHFRUGVREWDLQHGYLDJUDQGMXU\VXESRHQDVKRZ
WKDWWKHFDPHIURP*HQHUDWLRQ1RZE\ZD\RIDQDFFRXQW%RUJHVRSHQHGLQ$XJXVW
XQGHUWKHQDPHRI&RQVXOWLQJ*URXS//&%RUJHVUHJLVWHUHG³&RQVXOWLQJ*URXS//&´ZLWK
WKH2KLR6HFUHWDU\RI6WDWHRQ$XJXVW7ZRGD\VODWHU%RUJHVRSHQHGDEDQNDFFRXQW
XQGHU WKH QDPH ³ &RQVXOWLQJ *URXS //&´  %DQN UHFRUGV LQGLFDWHG WKDW %RUJHV LV WKH RQO\
VLJQDWRU\RQWKHDFFRXQWDQGRSHQHGWKHDFFRXQWDV3UHVLGHQW2ZQHU&(2RI&RQVXOWLQJ*URXS
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,QIDFW*HQHUDWLRQ1RZZLUHGDWRWDORIPLOOLRQLQWRWKHDFFRXQWEHWZHHQ$XJXVW
WKH GD\ WKH DFFRXQW ZDV RSHQHG DQG 6HSWHPEHU   WKH GD\ &+6  ZDV JLYHQ WKH
DIRUHPHQWLRQHGFKHFN'XULQJWKDWSHULRGDVLGHIURP%RUJHVGHSRVLWHGZKHQKH
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FKHFNZDVJLYHQWR&+6DFKHFNIRUZDVZULWWHQWRVROXWLRQV//&ZKLFKLVDQ
2KLREXVLQHVVUHJLVWHUHGWR-XDQ3&HVSHGHV

     ) 7KH(QWHUSULVH%ULEHV6LJQDWXUH&ROOHFWRUV

         ,QDGGLWLRQWRDWWHPSWLQJWREULEH&+6WKH(QWHUSULVHWULHGWRVXEYHUWWKH%DOORW
&DPSDLJQ¶VHIIRUWVE\EULELQJVLJQDWXUHFROOHFWRUVZRUNLQJRQEHKDOIRIWKH%DOORW&DPSDLJQ
6SHFLILFDOO\WKURXJKLQWHUPHGLDULHVWKH(QWHUSULVHRIIHUHG%DOORW&DPSDLJQVLJQDWXUHFROOHFWRUV
DSSUR[LPDWHO\DQGSODQHIDUHWRVWRSFROOHFWLQJVLJQDWXUHVDQGSURYLGHLQVLGHLQIRUPDWLRQ
UHODWLQJ WR WKH %DOORW &DPSDLJQ¶V +%  UHIHUHQGXP HIIRUWV  7KH SD\PHQW ZDV VSOLW LQWR WZR
VHJPHQWV²KDOIXSRQVLJQLQJDFRQWUDFWZLWK)URQW&RPSDQ\DQGKDOIXSRQSURRIWKHSODQHIDUH
ZDVXVHGWRIO\KRPHDZD\IURP2KLR7KH(QWHUSULVHEHOLHYHGWKDWLILWFRXOGUHGXFHWKHQXPEHU
RISHRSOHFROOHFWLQJVLJQDWXUHVIRUWKH%DOORW&DPSDLJQWKH\FRXOGHQVXUHWKH%DOORW&DPSDLJQ
ZRXOGIDLOWRFROOHFWWKHUHTXLVLWHQXPEHURIVLJQDWXUHV

         &ODUN RXWOLQHG WKLV YHU\ VWUDWHJ\ GXULQJ WKH UHFRUGHG GLQQHU FRQYHUVDWLRQ RQ
6HSWHPEHU&RQFHUQHGWKDWWKH%DOORW&DPSDLJQZRXOGFROOHFWHQRXJKVLJQDWXUHV&ODUN
H[SODLQHG³so we have to go out on the corners and buy out their people every day. We started
doing that today and everybody’s having a fucking shit fit´:KHQTXHVWLRQHGDERXWWKHORJLVWLFV
RIWKHRSHUDWLRQ&ODUNZDVYHU\FR\EXWH[SODLQHGWKDWWKH\KDYHVSRWWHUVLQWKHILHOGDQGWKDW
WKHVSRWWHUVFDOODQGVD\SHRSOHDUHKHUHDQGWKHQRWKHUVJREX\WKHPRII&ODUNFRQWLQXHG³if we
knock off 25 people, collecting signatures, it virtually wipes them out in next 20 days; this ends the
whole fucking thing, ends in, that’s how hard it is, in addition to the TV, the direct mail, and
everything else´,WZDVDWWKLVSRLQWLQWKHFRQYHUVDWLRQZKHQ+RXVHKROGHULQWHUUXSWHGDV
H[SODLQHG DERYH DQG VDLG ³It is so important, it is so important, that they are not successful,
because when the legislature votes on something it needs to stay law´

        7ROOUHFRUGVVKRZWKDW&ODUNZDVQRWH[DJJHUDWLQJGXULQJWKHGLQQHU)ROORZLQJ
WKHGLQQHU&ODUNKDGFRQWDFWVZLWK&RQWUDFWRUDSULQFLSDORI3HWLWLRQ6LJQDWXUH6HUYLFHV&R
ZKRPDUNHWVKLPVHOIKHUVHOIDVDOHDGLQJH[SHUWLQEDOORWLQLWLDWLYHDFFHVVDQGVWUDWHJ\7KH

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     KWWSVZZZGLVSDWFKFRPQHZVQXFOHDUEDLORXWVXSSRUWHUVFU\FKLQHVHFRQVSLUDF\EXWJHWIXQGLQJ
IURPVDPHEDQN

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FRQWDFWV RFFXUUHG LQ 2FWREHU  ZKHQ DV H[SODLQHG EHORZ ³0HJKDQ´ DQG ³0DUFXV´ ZHUH
FRQWDFWLQJDQGWU\LQJWREULEHVLJQDWXUHFROOHFWRUVZRUNLQJIRUWKHEDOORWLQLWLDWLYH
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         :LWKWKHPRQH\ZLUHGIURP*HQHUDWLRQ1RZWR)URQW&RPSDQ\WKH(QWHUSULVHSDLG
WKH3HWLWLRQ6LJQDWXUH6HUYLFHV&RRYHULQ2FWREHU7KHVDPHGD\DVWKHILUVW
ZLUHWUDQVIHUIURP)URQW&RPSDQ\WRWKH3HWLWLRQ6LJQDWXUH6HUYLFHV&R6LJQDWXUH&ROOHFWRU
IRUWKH%DOORW&DPSDLJQUHFHLYHGWKHIROORZLQJXQVROLFLWHGWH[WPHVVDJHIURP³0HJKDQ´ZKLFK
WROOUHFRUGVLGHQWLI\DV&RQWUDFWRU
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        7KH IROORZLQJ GD\ ³0DUFXV´ SXUSRUWHGO\ IURP )URQW &RPSDQ\ FRQWDFWHG
6LJQDWXUH&ROOHFWRU6LJQDWXUH&ROOHFWRUDQG6LJQDWXUH&ROOHFWRUYLDWH[W FRSLHGEHORZ 
DQGVHYHUDORWKHUVLJQDWXUHFROOHFWRUV7KHVXEVFULEHUUHFRUGVIRU³0DUFXV¶V´WHOHSKRQHQXPEHU
VKRZFRQWDFWZLWKWKHVHVLJQDWXUHFROOHFWRUVRQWKHGDWHDQGWLPHLQTXHVWLRQ0RUHRYHU³0DUFXV´
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RI 6LJQDWXUH &ROOHFWRUV   DQG  LQ D ODZVXLW ILOHG E\ SURSRQHQWV RI WKH %DOORW &DPSDLJQ
FODLPLQJ DPRQJ RWKHU WKLQJV LQWHUIHUHQFH E\ )URQW &RPSDQ\  :KLOH ZRUNLQJ IRU WKH %DOORW
&DPSDLJQ6LJQDWXUH&ROOHFWRUH[SODLQHGLQKLVKHUDIILGDYLWWKDWDIWHUKHVKHUHFHLYHGWKHWH[W
PHVVDJHKHVKHVSRNHWR³0DUFXV´EULHIO\EXWKXQJXSEHIRUHKHJDYHWKHGHWDLOVRIWKHRIIHU
6LJQDWXUH&ROOHFWRU¶VVZRUQDIILGDYLWVWDWHVWKDWDIWHUKHVKHUHFHLYHGWKHWH[W³0DUFXV´FDOOHG
KLPKHU DQG RIIHUHG KLPKHU D SODQH WLFNHW KRPH DQG  VSOLW LQWR WZR SDUWV 7KUHH RWKHU
DIILGDYLWV ZHUH ILOHG LQ VXSSRUW RI WKH ODZVXLW GHPRQVWUDWLQJ VLPLODU FRPPXQLFDWLRQV ZLWK
³0DUFXV´ ZKR LGHQWLILHG KLPVHOI DV ZRUNLQJ RQ EHKDOI RI )URQW &RPSDQ\ RQH RI ZKLFK ZDV
DFFRPSDQLHGE\DUHFRUGLQJRIWKHFDOOGHVFULEHGWKHVDPHRIIHUDV6LJQDWXUH&ROOHFWRUDQG
LQFOXGHGDSURSRVHGFRQWUDFW GHVFULEHGEHORZ WKDW³0DUFXV´VHQW
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          7KH FRQWUDFW DWWDFKHG WR RQH RI WKH DIILGDYLWV GHVFULEHG WKH ³VHUYLFHV´ WR EH
SURYLGHG DV IROORZV  ³provide statewide ballot issue advice and expert consultation on Ohio
statewide ballot measures and the associated petition circulation and signature collection matters
related to the referendum of HB 6 related issues, which occurs within a 90 day period upon
enactment HB 6´7KLVVKRZVWKDWWKH(QWHUSULVHZDVDJDLQSD\LQJDJHQWVRIWKHEDOORWFDPSDLJQ
IRULQVLGHLQIRUPDWLRQUHODWLQJWRWKH%DOORW&DPSDLJQWRKXUWWKHFDPSDLJQ¶VHIIRUWV
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6HFUHWDU\RI6WDWH³)RUP´DVUHTXLUHGE\2KLRODZZKLFKLQFOXGHGWKHLUQDPHDQGWHOHSKRQH
QXPEHU7KHVHIRUPVZHUHILOHGZLWKWKH2KLR6HFUHWDU\RI6WDWH6LJQLILFDQWO\WKHLQYHVWLJDWLRQ
VKRZVWKDWWKH(QWHUSULVHOLNHO\KDGDFFHVVWRWKRVHIRUPV'XULQJWKHUHFRUGHGFRQYHUVDWLRQRQ
6HSWHPEHU   ZKLFK SUHFHGHG WKH DERYH WH[W PHVVDJHV IURP ³0HJKDQ´ DQG ³0DUFXV´
&ODUNDQG+RXVHKROGHUUHIHUUHGWKHIRUPV,QWKHFRQWH[WRIH[SODLQLQJWKHPDLOHUZKLFKDOOHJHG
WKH VLJQDWXUH JDWKHUHUV ZHUH FULPLQDOV 5HSUHVHQWDWLYH  DVNHG ³how do you know they have
arrests"´  +RXVHKROGHU UHVSRQGHG WKDW ³they have to sign up and when they sign up we run a
background check´%DVHGRQP\WUDLQLQJDQGH[SHULHQFHDQGWKHLQYHVWLJDWLRQWRGDWH³VLJQXS´
LVOLNHO\DUHIHUHQFHWRWKH)RUP

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UHFRUGV%DQNUHFRUGVIRU%RUJHV¶&RQVXOWLQJDFFRXQWVKRZWKDWKHSDLGDSULYDWHLQYHVWLJDWLRQV
ILUPRYHUEHWZHHQ6HSWHPEHUDQG2FWREHU7KHODVWFKHFN%RUJHVSDLGWR
WKHLQYHVWLJDWLRQILUPLQGLFDWHGWKDWLWZDVIRU³´ZKLFKLVWKHVDPHGDWHRI&RQWUDFWRU¶V
WH[WV WR RQH RI WKH DERYH VLJQDWXUH FROOHFWRUV  7KLV LQIRUPDWLRQ LV FRQVLVWHQW ZLWK ZKDW
+RXVHKROGHU¶VVWDWHPHQWVRQ6HSWHPEHU
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          0RUHRYHUDQ\DPELJXLW\DVWR0DUFXV¶DIILOLDWLRQZKHQKHDWWHPSWHGWREULEHWKH
VLJQDWXUHFROOHFWRUVLVUHVROYHGE\RQHRIWKHDIILGDYLWVILOHGLQIHGHUDOFRXUWZKLFKLQFOXGHGD
FRS\RIWKHFRQWUDFWVHQWE\³0DUFXV´WRWKHVLJQDWXUHFROOHFWRUV7KHFRQWUDFWFRQILUPHGWKDWWKH
FRQWUDFWLQJSDUW\ZDV)URQW&RPSDQ\DQGFRQILUPHGWKHFDVKEX\RXWLQWKHDIILGDYLWVVSOLW
LQWRWZRSD\PHQWV2QHKDOI  LPPHGLDWHO\XSRQH[HFXWLRQRIWKLV$JUHHPHQWDQG2QHKDOI
   immediately following the fulfillment of initial instructions shared with you through
additional conversations with a representative from [Front Company]..´7KHFRQWUDFWZDVVLJQHG
E\/RQJVWUHWKRQEHKDOIRI)URQW&RPSDQ\DQGIXUWKHUUHTXLUHGWKDWQRWLFHVEHVHQWWR
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*HQHUDWLRQ1RZ
FR-HII/RQJVWUHWK
&ROXPEXV2+
MHIIORQJVWUHWK#JPDLOFRP
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          7KH FRQWUDFW IXUWKHU KDG D FRQILGHQWLDOLW\ UHTXLUHPHQW DLPHG DW FRQFHDOLQJ ERWK
*HQHUDWLRQ1RZDQGWKHDJUHHPHQWLWVHOIVKRZLQJWKH(QWHUSULVH¶VUROHLQEULELQJWKHVLJQDWXUH
FROOHFWRUV7KHFRQILGHQWLDOLW\SURYLVLRQSURKLELWHGWKHVLJQDWXUHFROOHFWRUIURPGLVFORVLQJ³ D)
the identity of GenNow E WKDW>QDPH@KDVEHHQHQJDJHGE\WKH>)URQW&RPSDQ\@WRSHUIRUPWKH
6HUYLFHVGHVFULEHGKHUHLQRU F WKHH[LVWHQFHWHUPVSURYLVLRQVRUFRQGLWLRQVRIWKLV$JUHHPHQW
RU WKH DJUHHPHQW ZLWK >)URQW &RPSDQ\@´  $JDLQ WKH ³6HUYLFHV´ LQFOXGHG SURYLGLQJ LQVLGH
LQIRUPDWLRQUHODWLQJWRWKHFDPSDLJQWRRYHUWXUQ+%
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&RPSDQ\$WRGHIHDWWKHEDOORWLQLWLDWLYH)RUH[DPSOHLQ6HSWHPEHUZKLOHWKH(QWHUSULVH
ZDVVSHQGLQJPLOOLRQVWU\LQJWRGHIHDWWKH%DOORW&DPSDLJQ(QWHUSULVH0HPEHUDQG&RPSDQ\$
/REE\LVW %RUJHV UHIHUHQFHG D PHHWLQJ EHWZHHQ PHPEHUV RI WKH (QWHUSULVH DQG &RPSDQ\ $
H[HFXWLYHVLQFOXGLQJ³WKH&(2RIWKHFRPSDQ\´DIHZGD\VHDUOLHU
            
                        I was driving those guys back to the airport and they were like we
                        want to stop and see somebody (a signature gatherer). Well . . . I
                        know for sure there will be one at the Worthington library because
                        there’s one there every day. So we stopped and for sure there was
                        one there . . . the guy wants to get out and talk to him. . . . It was the
                        CEO of the company


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$VWDWLQJ³I had the Company brass there – and they were up at [redacted] looking at ads, I
mean, Dispatch calls our ads a lie today.´  $JDLQ DV VHW IRUWK DERYH LQ D SULRU FRQYHUVDWLRQ
%RUJHVGHVFULEHG+RXVHKROGHU¶VLQWHUHVWLQWKHEDLORXWDQGKLVILUP¶VUHODWLRQVKLSZLWK&RPSDQ\
$DV³an unholy alliance´7KLVVKRZVWKH(QWHUSULVHZRUNLQJZLWK&RPSDQ\$WRGLVFXVVVWUDWHJ\
IRU GHIHDWLQJ WKH EDOORW LQLWLDWLYH WR LQFOXGH EULELQJ DQG SD\LQJ RII HPSOR\HHV DQG VLJQDWXUH
FROOHFWRUVIRUWKHEDOORWFDPSDLJQ
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          7ROO UHFRUGV DOVR VKRZ IUHTXHQW DQG FORVH FRQWDFW EHWZHHQ WKH (QWHUSULVH DQG
&RPSDQ\$GXULQJWKLVSHULRGLQZKLFK&RPSDQ\$SDLGWKH(QWHUSULVHRYHUPLOOLRQ)RU
H[DPSOHRQ2FWREHU/RQJVWUHWKKDGPXOWLSOHSKRQHFRQWDFWVZLWKDSHUVRQDVVRFLDWHG
ZLWK(QHUJ\3DVV7KURXJKWKHVDPHGD\WKDW&RPSDQ\$6HUYLFH&RZLUHGPLOOLRQWR(QHUJ\
3DVV7KURXJKZKLFKWKHQZLUHGPLOOLRQWR*HQHUDWLRQ1RZ
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          7KH(QWHUSULVH¶VHIIRUWVZHUHDVXFFHVVRQ2FWREHUWKH%DOORW&DPSDLJQ
IDLOHGWRFROOHFWHQRXJKVLJQDWXUHVDQG+%ZHQWLQWRHIIHFW+RXVHKROGHUFHOHEUDWHGHQDFWPHQW
RIWKHODZWKURXJKDQ2FWREHUSUHVVUHOHDVHLQZKLFKKHQRWHGH[SUHVVO\WKDWWKHQHZ
ODZZRXOGEDLORXW&RPSDQ\$¶VIDLOHGQXFOHDUSRZHUSODQWV6SHFLILFDOO\+RXVHKROGHUVWDWHG³I
am pleased that House Bill 6 will go into effect at midnight tonight and am confident it will produce
positive results for Ohio.´$PRQJWKHEHQHILWVRIWKHELOO+RXVHKROGHUKLJKOLJKWHG“First, HB 6
will save the operation of two Ohio nuclear power plants´ (PSKDVLVDGGHG 
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FRQWUROOHGDFFRXQWVZKLFKSHUVRQDOO\EHQHILWWHG/RQJVWUHWKDQG+RXVHKROGHU)RUH[DPSOHRQ
RU DERXW -DQXDU\   /RQJVWUHWK ZLUHG  PLOOLRQ WR KLV EURNHUDJH DFFRXQW  $IWHU WKH
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&RPSDQ\$ZRXOGVSHQGPLOOLRQUHSXUFKDVLQJVKDUHVIURPVKDUHKROGHUVWKHUHE\ERRVWLQJ
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SDUWLFLSDWHLQWKHFRQGXFWRIWKHDIIDLUVRIWKHHQWHUSULVHE\DJUHHLQJWKDWDFRFRQVSLUDWRUZRXOG
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VHUYLFHV RI +RXVHKROGHU LQYROYLQJ WKH UHFHLSW RI PLOOLRQV RI GROODUV LQ VHFUHW EULEH SD\PHQWV
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                                                                July 17          via Facetime Video.



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